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    UNITED STATES BANKRUPTCY COURT FOR THE NORTHERN DISTRICT OF
                             TEXAS, DALLAS DIVISION
In Re: Highland Capital Management, L.P § Case No. 19-34054-SGJ11
Charitable DAF Fund, L.P et al
                          Appellant       §
vs.                                       §         21-03067
Highland Capital Management, L.P          §

                            Appellee              §           3:23-CV-01503-B
  [167] Order granting Defendant Highland Capital Management, L.P.'s Renewed motion to dismiss
adversary proceeding (related document # 122) Entered on 6/25/2023.

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Part 4: Optional election to have appeal heard by District Court (applicable only in
certain districts)

Not applicable.


February 3, 2021                                 Respectfully submitted,


                                                 /s/Douglas S. Draper.
                                                 Douglas S. Draper, La. Bar No. 5073
                                                 ddraper@hellerdraper.com
                                                 Leslie A. Collins, La. Bar No. 14891
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                                                 Fax: (504) 299-3399
                                                 Attorneys for The Dugaboy Investment Trust
                                                  and Get Good Trust




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                             APPENDIX 17




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On 4/19/21, 4:19 PM, "Jeff Pomerantz" <jpomerantz@pszjlaw.com> wrote:

  These Orders require you to seek such authority from the Bankruptcy Court which has exclusive jurisdiction to
make the determination as to whether an action against Mr. Seery may be brought.

  If you violate such Orders by filing your motion in the District Court we will seek appropriate relief from the
Bankruptcy Court including sanctions against you and your client for a willful violation of the Bankruptcy Court's
orders.

  Jeff

  On 4/19/21, 4:11 PM, "Mazin Sbaiti" <MAS@sbaitilaw.com> wrote:

     District Court where we filed the case, where we suspect it will be referred to the bk court.
     M


     From Mazin A. Sbaiti, Esq.


    -----Original Message-----
    From: Jeff Pomerantz <jpomerantz@pszjlaw.com>
    Sent: Monday, April 19, 2021 6:10 PM
    To: Mazin Sbaiti <MAS@sbaitilaw.com>; Jonathan E. Bridges <JEB@sbaitilaw.com>
    Cc: Kim James <KRJ@sbaitilaw.com>; John A. Morris <jmorris@pszjlaw.com>; Jeff Pomerantz
<jpomerantz@pszjlaw.com>
    Subject: Re: CLO Holdco v. Highland

     Yes. Put us down as opposed. And you will be filing that motion in the bankruptcy court correct?

     Jeff

     On 4/19/21, 4:09 PM, "Mazin Sbaiti" <MAS@sbaitilaw.com> wrote:

         Jeff,

        Our meet and confer is for our motion for leave to amend to add him. I believe, per those orders' language, we
are following the court's instruction.
        We are not unilaterally adding him.

         I take it you want us to put you down as "opposed" on the certificate of conference?

         Mazin




                                                            1

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       From Mazin A. Sbaiti, Esq.


      -----Original Message-----
      From: Jeff Pomerantz <jpomerantz@pszjlaw.com>
      Sent: Monday, April 19, 2021 6:05 PM
      To: Jonathan E. Bridges <JEB@sbaitilaw.com>
      Cc: Mazin Sbaiti <MAS@sbaitilaw.com>; Kim James <KRJ@sbaitilaw.com>; Jeff Pomerantz
<jpomerantz@pszjlaw.com>; John A. Morris <jmorris@pszjlaw.com>
      Subject: Re: CLO Holdco v. Highland

        I appreciate that you are new to the case but you need to be aware of the attached July 9, 2020 and July 16,
2020 Bankruptcy Court orders that prohibit Mr. Seery (among others) from being sued without first obtaining
authority from the Bankruptcy Court. If you proceed to amend the complaint as you suggest below without first
obtaining Bankruptcy Court approval we reserve all rights to take appropriate action and seek appropriate relief from
the Bankruptcy Court.

       Also please keep my partner John Morris copied on emails.

       Jeff Pomerantz


       From: "Jonathan E. Bridges" <JEB@sbaitilaw.com>
       Date: Monday, April 19, 2021 at 12:49 PM
       To: Jeffrey Pomerantz <jpomerantz@pszjlaw.com>
       Cc: Mazin Sbaiti <MAS@sbaitilaw.com>, Kim James <KRJ@sbaitilaw.com>
       Subject: CLO Holdco v. Highland

       Mr. Pomerantz,

        Mazin and I intend to move for leave today in the district court seeking permission to amend our complaint to
add claims against Mr. Seery. They are the same causes of action. We believe we are entitled to amend as a matter of
course. But we will also raise and brief the bankruptcy court’s orders re the same.

       Can we put your client down as unopposed?

       We appreciate your prompt reply.

      Jonathan Bridges
      [cid:image001.png@01D67A35.9FEE2C90] Sbaiti & Company PLLC CHASE TOWER
      2200 Ross Avenue, Suite 4900W<x-apple-data-detectors://1/0>
      Dallas, Texas 75201<x-apple-data-detectors://1/0>
      O: (214) 432-2899<tel:(214)%20432-2899>
      C: (214) 663-3036<tel:(214)%20663-3036>
      F: (214) 853-4367<tel:(214)%20853-4367>
      E: JEB@SbaitiLaw.com<mailto:JEB@SbaitiLaw.com>
      W: https://protect-us.mimecast.com/s/Y5psCZ6WN6U7YgyJfzdNZs<https://protect-
us.mimecast.com/s/Ev5YC1w9Pwf6XGKVtGc2dK>



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                            APPENDIX 18




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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS

 CHARITABLE DAF FUND, L.P.                              §
 and CLO HOLDCO, LTD.,                                  §
 directly and derivatively,                             §
                                                        §
                  Plaintiffs,                           §
                                                        §
                     v.                                 §   CAUSE NO. 3:21-cv-00842-B
                                                        §
 HIGHLAND CAPITAL MANAGEMENT,                           §
 L.P., HIGHLAND HCF ADVISOR, LTD.,                      §
 and HIGHLAND CLO FUNDING, LTD.,                        §
 nominally,                                             §
                                                        §
                 Defendants.                            §


   PLAINTIFFS’ MOTION FOR LEAVE TO FILE FIRST AMENDED COMPLAINT
                                                 I.
                                   NECESSITY OF MOTION
       Plaintiffs submit this Motion under Rule 15 of the Federal Rules of Civil Procedure for one

purpose: to name as defendant one James P. Seery, Jr., the CEO of Defendant Highland Capital

Management, L.P. (“HCM”), and the chief perpetrator of the wrongdoing that forms the basis of

Plaintiffs’ causes of action.

       Seery is not named in the Original Complaint. But this is only out of an abundance of

caution due to the bankruptcy court, in HCM’s pending Chapter 11 proceeding, having issued an

order prohibiting the filing of any causes of action against Seery in any way related to his role at

HCM, subject to certain prerequisites. In that order, the bankruptcy court also asserts “sole

jurisdiction” over all such causes of action.

       Plaintiffs respectfully submit that, to the extent the bankruptcy court order prohibits the

filing of an action in this Court, whose jurisdiction the bankruptcy court’s jurisdiction is wholly


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derivative of, that order exceeds the bankruptcy court’s powers and is unenforceable.

Alternatively, Plaintiffs submit that filing this Motion satisfies the prerequisites provided in the

bankruptcy court’s order. Either of these reasons provides sufficient grounds to grant this Motion.

       The proposed First Amended Complaint is attached as Exhibit 1.

                                                II.
                                        BACKGROUND
       On June 23, 2020, counsel for HCM filed a motion in HC’s bankruptcy proceedings asking

the bankruptcy court to defer to the “business judgment” of the board’s compensation committee

and approve the terms of its appointment of Seery as chief executive officer and chief restructuring

officer at HCM, retroactive to March.1 Counsel also asked the bankruptcy court to declare that it

had exclusive jurisdiction over any claims asserted against Seery in this role.

       On July 16, 2020, the bankruptcy court granted that motion and stated as follows:

           No entity may commence or pursue a claim or cause of action of any kind
           against Mr. Seery relating in any way to his role as the chief executive
           officer and chief restructuring officer of the Debtor without the Bankruptcy
           Court (i) first determining after notice that such claim or cause of action
           represents a colorable claim of willful misconduct or gross negligence
           against Mr. Seery, and (ii) specifically authorizing such entity to bring such
           claim. The Bankruptcy Court shall have sole jurisdiction to adjudicate
           any such claim for which approval of the Court to commence or pursue
           has been granted.2



 1
   Debtor’s Motion Under Bankruptcy Code Sections 105(a) and 363(b) for Authorization to
Retain James P. Seery, Jr., as Chief Executive Officer, Chief Restructuring Officer, and Foreign
Representative Nunc Pro Tunc to March 15, 2020 [Doc. 774]. This motion is attached as Exhibit
2.
 2
   Order Approving Debtor’s Motion Under Bankruptcy Code Sections 105(a) and 363(b)
Authorizing Retention of James P. Seery, Jr., as Chief Executive Officer, Chief Restructuring
Officer, and Foreign Representative Nunc Pro Tunc to March 15, 2020 [Doc 854]. A related order
dated January 9, 2020, contains a similar provision with regard to Seery’s role as an “Independent
Director.” Order Approving Settlement with Official Committee of Unsecured Creditors
Regarding Governance of the Debtor and Procedures for Operations in the Ordinary Course [Doc
339]. These orders are attached, respectively, as Exhibits 3 and 4.
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        On March 22, 2021, the bankruptcy court entered an order confirming HCM’s

reorganization plan.3 That order purports to extend the prohibitions on suits against Seery, and it

also prohibits certain actions against HCM and its affiliates. By its own terms, however, that order

is not effective due to a pending appeal.

        On April 12, 2021, Plaintiffs filed their Original Complaint in this action, alleging that

HCM and related entities are liable as a result of insider trading and other violations of the antifraud

provisions of the Investment Company Act of 1940, among other causes of action. The Original

Complaint does not name Seery as a defendant. But the action is based on Seery’s

misrepresentations, omissions, and other breaches of duty committed in his role as HCM’s CEO,

which are sufficient to demonstrate his willful misconduct or gross negligence, though Plaintiffs

submit that mere negligence and breach of fiduciary duty also form sufficient bases for his personal

liability.

                                                  III.

                                            ARGUMENT

        This Court should grant leave to amend because the liberal policies behind Rule 15 require

it and because leave is not prohibited by the bankruptcy court’s order.

A. Rule 15(a) Allows Plaintiffs’ Amendment As a Matter of Course

        Rule 15(a) instructs the Court to “freely give leave [to amend] when justice so requires.”

FED. R. CIV. P. 15(a). The Fifth Circuit, in Martin’s Herend Imports, Inc. v. Diamond & Gem

Trading United States Co., 195 F.3d 765 (5th Cir. 1999), interpreted the rule as “evinc[ing] a bias

in favor of granting leave to amend.” Id. at 770. Thus the Court must possess a “substantial reason”



 3
  Order (I) Confirming the Fifth Amended Plan of Reorganization of Highland Capital Management, L.P.
(As Modified) And (II) Granting Related Relief [Doc. 1943].
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to deny a request for leave to amend. Lyn-Lea Travel Corp. v. Am. Airlines, Inc., 283 F.3d 282,

286 (5th Cir. 2002); Jamieson v. Shaw, 772 F.2d 1205, 1208 (5th Cir. 1985); cf. Foman v. Davis,

371 U.S. 178, 182 (1962) (explaining that leave should be granted “[i]n the absence of any apparent

or declared reason—such as undue delay, bad faith or dilatory motive on the part of the movant,

repeated failure to cure deficiencies by amendments previously allowed, undue prejudice to the

opposing party by virtue of allowance of the amendment, futility of amendment, etc.”).

       Moreover, one amendment, filed within 21 days of service of the pleading it seeks to amend

or before a responsive pleading is filed, is allowed “as a matter of course.” Fed. R. Civ. P. 15(a)(1);

Zaidi v. Ehrlich, 732 F.2d 1218, 1220 (5th Cir. 1984) (“When, as in this case, a plaintiff who has

a right to amend nevertheless petitions the court for leave to amend, the court should grant the

petition.”); Galustian v. Peter, 591 F.3d 724, 729-30 (4th Cir. 2010) (holding that district court

abused its discretion in denying timely motion to amend adding defendant because “[t]he

plaintiff’s right to amend once is absolute”); Rogers v. Girard Tr. Co., 159 F.2d 239, 241 (6th Cir.

1947) (holding that complaint may be amended as matter of course where defendant has filed no

responsive pleading, and leave of district court is not necessary, but it is error to deny leave when

asked); Bancoult v. McNamara, 214 F.R.D. 5, 7-8 (D.D.C. 2003) (holding that plaintiff’s filing of

a motion for leave to amend does not nullify plaintiff’s absolute right to amend once before

responsive pleadings, even if the amendment would be futile).

       Here, Plaintiffs did not name Seery as a defendant in the Original Complaint out of an

abundance of caution in light of the bankruptcy court’s order of July 16, 2020 [Doc. 854]. Instead,

Plaintiffs are seeking leave in this Motion to do so. Because the proposed amendment is their first,

and because it comes within 21 days of service of the Original Complaint, as well as before any




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responsive pleadings, Plaintiffs respectfully submit that they are entitled to leave and their

proposed First Amended Complaint should be allowed.

B. The Bankruptcy Court’s Order Should Not Prohibit Plaintiffs’ Amendment

        Plaintiffs submit that the bankruptcy court order of July 16, 2020, does not prohibit the

proposed amendment for two independent reasons.

        1. The Bankruptcy Court’s Order Exceeds Its Jurisdiction

                a. The Bankruptcy Court Cannot Strip This Court of Jurisdiction

        Because the bankruptcy court’s jurisdiction derives from and is dependent upon the

jurisdiction of this Court, its order declaring that it has “sole jurisdiction” is overreaching.

        Congress provided for and limited the jurisdiction of bankruptcy courts in 28 U.S.C. § 1334

and 28 U.S.C. § 157. As a result, bankruptcy court jurisdiction derives from and is limited by

statute. Celotex Corp. v. Edwards, 514 U.S. 300, 307 (1995) (“The jurisdiction of the bankruptcy

courts, like that of other federal courts, is grounded in, and limited by, statute.”); Williams v.

SeaBreeze Fin., LLC (In re 7303 Holdings, Inc.), Nos. 08-36698, 10-03079, 2010 Bankr. LEXIS

2938 at *7 (Bankr. S.D. Tex. Aug. 26, 2010) (“A bankruptcy court’s jurisdiction is derivative of

the district court’s jurisdiction. The bankruptcy court does not have jurisdiction unless the district

court could exercise authority over the matter . . . .”). The plain provisions of § 1334 grant to the

district courts “original jurisdiction” over all bankruptcy cases and related civil proceedings. 28

U.S.C. § 1334(a)-(b). What Congress giveth, the bankruptcy courts cannot taketh away.

                b. The Barton Doctrine Does Not Apply

        The bankruptcy court’s overreach seems to stem from a misapplication of the Barton

doctrine. That doctrine protects receivers and trustees who are appointed by the bankruptcy court.

Randazzo v. Babin, No. 15-4943, 2016 U.S. Dist. LEXIS 110465, at *3 (E.D. La. Aug. 18, 2016)


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(“While the Barton case involved a receiver in state court, the United States Court of Appeals for

the Fifth Circuit has extended this principle, now known as the Barton doctrine, to lawsuits against

bankruptcy trustees for acts committed in their official capacities.”). The doctrine does not apply

to executives of a debtor, like Seery, who are not receivers or trustees, and who are stretching the

truth to claim that they were “appointed” by the bankruptcy court after asking it merely to approve

their appointment in deference to their discretion under the business judgment rule.4

                c. The Order Exceeds the Constitutional Limits of the Bankruptcy Court’s
                   Jurisdiction

        Plainly the bankruptcy court does not have “sole jurisdiction” over all causes of action that

might be brought against Seery related to his role as HCM’s CEO. But more to the point, the

bankruptcy court does not even have concurrent jurisdiction over all such claims. The separation

of powers doctrine does not allow that. See Stern v. Marshall, 564 U.S. 462, 499 (2011) (holding

that Congress cannot bypass Article III and create jurisdiction in bankruptcy courts “simply

because a proceeding may have some bearing on a bankruptcy case”); id. at 488 (quoting Murray’s

Lessee v. Hoboken Land & Improvement Co., 59 U.S. 272, 284 (1856), for the proposition that

“Congress cannot ‘withdraw from judicial [read Article III] cognizance any matter which, from its

nature, is the subject of a suit at the common law, or in equity, or admiralty’” with the limited

exception of matters involving certain public rights); id. at 494 (quoting the dissent’s quote of

Thomas v. Union Carbide Agricultural Products Co., 473 U.S. 568, 584 (1985), for the proposition

that “Congress may not vest in a non-Article III court the power to adjudicate, render final

judgment, and issue binding orders in a traditional contract action arising under state law,” and


 4
   Exhibit 2 at 14-15 (arguing that the bankruptcy court should not “interfere” with their “corporate
decisions . . . as long as they are attributable to any rational business purpose”) (internal quotes omitted);
id. at 5-7 (detailing the compensation committee’s “appointment” of Seery as CEO as well as chief
restructuring officer).
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then adding “tort” to the rule for purposes of the matter before it); cf. In re Prescription Home

Health Care, 316 F.3d 542, 548 (5th Cir. 2002) (holding that trustee’s tax liability was not within

the bankruptcy court’s related-to jurisdiction and rejecting “the theory that a bankruptcy court has

jurisdiction to enjoin any activity that threatens the debtor’s reorganization prospects [because

that] would permit the bankruptcy court to intervene in a wide variety of third-party disputes [such

as] any action (however personal) against key corporate employees, if they were willing to state

that their morale, concentration, or personal credit would be adversely affected by that action”).

The bankruptcy court’s order asserting “sole jurisdiction” here is hardly even relevant since that

court lacks the power to expand its jurisdiction or manufacture jurisdiction where none exists.

       The proposed First Amended Complaint asserts common law and equitable contract and

tort claims. For the reasons explained by the Supreme Court in Stern, such claims should not be

deemed within the bankruptcy court’s jurisdiction.

               d. The Order Exceeds the Bankruptcy Court’s Statutory Authorization

       Not only are there constitutional issues with the scope of the bankruptcy court’s order,

there is also the limitation of 28 U.S.C. § 157(d). See TMT Procurement Corp. v. Vantage Drilling

Co. (In re TMT Procurement Corp.), 764 F.3d 512, 523 & n.40 (5th Cir. 2014) (noting bankruptcy

court’s “more limited jurisdiction” as a result of its “limited power” under 28 U.S.C. § 157). In §

157(d), Congress prohibited the bankruptcy court, absent the parties’ consent, from presiding over

cases or proceedings that require consideration of both Title 11 and other federal law regulating

organizations or activities affecting interstate commerce.

       The First Amended Complaint’s allegations against Seery—accusing him of insider

trading, violations of the RICO statute (18 U.S.C. § 1961 et seq.), and violations of the antifraud

provisions of the Investment Advisers Act of 1940—require precisely that. Even determining the


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“colorability” of such claims will require a close examination of both the proceedings that took

place in the bankruptcy court under Title 11 and the Investment Advisers Act as well as the RICO

statute. The bankruptcy court lacks the authority to make such determinations. This Court has that

power.

         Thus, at least as it applies to the proposed First Amended Complaint, the bankruptcy

court’s order exceeds its authority under 28 U.S.C. § 157(d), and any determination of

“colorability” should take place in this Court, which Rule 12(b)(6) of the Federal Rules of Civil

Procedure already provides for. To hold otherwise would create unnecessary tension with the

congressional aims of 28 U.S.C. § 959 (“Trustees, receivers or managers of any property, including

debtors in possession, may be sued, without leave of the court appointing them, with respect to

any of their acts or transactions in carrying on business connected with such property.”).

         2. The Prerequisites in the Bankruptcy Court’s Order Are Satisfied by This Motion
            and the Detailed Allegations in the Proposed First Amended Complaint

         Alternatively, or in addition, should this Court read the bankruptcy court’s order as

prohibiting the filing of actions against Seery even in this Court, Plaintiffs submit that this Motion

seeking leave provides the mechanisms required by that order and therefore satisfies it.

         The bankruptcy court’s order requires only that any contemplated action must first be

submitted to that court for a preliminary determination of colorability. Because that court only has

derivative jurisdiction as a result of this Court’s jurisdiction—and only over matters referred to it

by this Court—Plaintiffs submit that filing a motion for leave here is the correct procedure for

complying with that order. This Court may refer this Motion to the bankruptcy court under

Miscellaneous Order No. 33, as authorized by § 104 of the Bankruptcy Amendments and Federal

Judgeship Act of 1984, codified at 28 U.S.C. § 157(a). Or it may instead decline to refer the Motion

or withdraw the reference under 28 U.S.C. § 157(d), as Plaintiffs submit is appropriate for the
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reasons addressed above. Regardless, this Motion presents the issue in a manner that allows the

bankruptcy court to address it, should this Court decide that the bankruptcy court is authorized to

do so. Cf. Confirmation Order [Doc. 1943] at 77, ¶ AA (“The Bankruptcy Court will have sole and

exclusive jurisdiction to determine whether a claim or cause of action is colorable and, only to the

extent legally permissible and as provided for in Article XI of the Plan, shall have jurisdiction to

adjudicate the underlying colorable claim or cause of action.”) (emphasis added).

       Plaintiffs therefore submit that, by filing this Motion in this Court, they have complied with

the bankruptcy court’s order.

                                                IV.

                                         CONCLUSION

       Plaintiffs are entitled to amend as a matter of course. The bankruptcy court lacks

jurisdiction to prohibit the proposed amendment. In these circumstances, Plaintiffs respectfully

submit that the interests of justice support the granting of leave to amend, and Rule 15(a) requires

that this Motion be granted.

Dated: April 19, 2021                                 Respectfully submitted,

                                                      SBAITI & COMPANY PLLC

                                                      /s/ Jonathan Bridges
                                                      Mazin A. Sbaiti
                                                      Texas Bar No. 24058096
                                                      Jonathan Bridges
                                                      Texas Bar No. 24028835
                                                      JPMorgan Chase Tower
                                                      2200 Ross Avenue – Suite 4900W
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                                                          jeb@sbaitilaw.com

                                                      Counsel for Plaintiffs
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                            CERTIFICATE OF CONFERENCE

       I hereby certify that, on April 19, 2021, I conferred with Defendant HCM’s counsel in the
HCM bankruptcy proceedings regarding this Motion. I have not conferred with counsel for the
other Defendants because they have not been served and I do not know who will represent them.
HCM’s counsel indicated that they are opposed to the relief sought in this Motion.



                                                   /s/ Jonathan Bridges
                                                   Jonathan Bridges




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         EXHIBIT 



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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS

 CHARITABLE DAF FUND, L.P.          §
 and CLO HOLDCO, LTD.,              §
 directly and derivatively,         §
                                    §
               Plaintiffs,          §
                                    §
                   v.               §                   Cause No. 3:21-CV-00842-B
                                    §
 HIGHLAND CAPITAL MANAGEMENT, §
 L.P. , HIGHLAND HCF ADVISOR, LTD., §
 JAMES P. SEERY, individually, and  §
 HIGHLAND CLO FUNDING, LTD.,        §
 nominally,                         §
                                    §
              Defendants.           §


                                FIRST AMENDED COMPLAINT


                                                   I.
                                         INTRODUCTION
         This action arises out of the acts and omissions of Defendant James P. Seery (“Seery”) in

his conduct as chief executive officer and chief restructuring officer of Defendant Highland Capital

Management, L.P. (“HCM”), which is the general manager of Highland HCF Advisor, Ltd.

(“HCFA”), both of which are registered investment advisers under the Investment Advisers Act of

1940 (the “Advisers Act”),1 and nominal Defendant Highland CLO Funding, Ltd. (“HCLOF”)

(Seery, HCM, and HCFA each a “Defendant,” or together, “Defendants”). The acts and omissions

which have recently come to light reveal breaches of fiduciary duty, a pattern of violations of the

Advisers Act’s anti-fraud provisions, and concealed breaches of the HCLOF Company Agreement,

among others, which have caused and/or likely will cause Plaintiffs damages, and which arise out


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     https://adviserinfo.sec.gov/firm/summary/110126




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of or are related to acts or omissions that constitute bad faith, fraud, gross negligence, or willful

misconduct.

       Seery negotiated a settlement with the several Habourvest2 entities who owned 49.98% of

HCLOF. The deal had HCM (or its designee) purchasing the Harbourvest membership interests in

HCLOF for $22.5 million. Recent revelations, however, show that the sale was predicated upon a

sales price that was vastly below the Net Asset Value (“NAV”) of those interests. Upon

information, the NAV of HCLOF’s assets had risen precipitously, but was not disclosed to

Harbourvest nor to Plaintiffs.

       Under the Advisers Act, Defendants have a non-waivable duty of loyalty and candor, which

includes its duty not to inside trade with its own investors, i.e., not to trade with an investor to

which HCM and Seery had access to superior non-public information. Upon information and

belief, HCM’s internal compliance policies required by the Advisers Act would not generally have

allowed a trade of this nature to go forward—meaning, the trade either was approved in spite of

compliance rules preventing it, or the compliance protocols themselves were disabled or amended

to a level that leaves Defendants HCM and HCLOF exposed to liability. Thus, Defendants have

created an unacceptable perpetuation of exposure to liability.

       Additionally, Defendants are liable for a pattern of conduct that gives rise to liability for

their conduct of the enterprise consisting of HCM in relation to HCFA and HCLOF, through a

pattern of concealment, misrepresentation, and violations of the securities rules. In the alternative,

Seery, HCFA and HCM, are guilty of self-dealing, violations of the Advisers Act, and tortious




  2
   “Habourvest” refers to the collective of Harbourvest Dover Street IX Investment, L.P., Harbourvest
2017 Global AIF, L.P., Harbourvest 2017 lobal Fund, L.P., HV International VIII Secondary, L.P., and
Harbourvest Skew Base AIF, L.P. Each was a member of Defendant Highland CLO Funding, Ltd.


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interference by (a) not disclosing that Harbourvest had agreed to sell at a price well below the

current NAV, and (b) diverting the Harbourvest opportunity to themselves.

       For these reasons, judgment should be issued in Plaintiffs’ favor.

                                                  II.
                                              PARTIES
       1.      Plaintiff CLO Holdco, Ltd. is a limited company incorporated under the laws of

the Cayman Islands.

        2.      Plaintiff Charitable DAF Fund, L.P., (“DAF”) is a limited partnership formed under

the laws of the Cayman Islands.

       3.      Defendant Highland Capital Management, L.P. is a limited partnership with its

principal place of business at 300 Crescent Court, Suite 700, Dallas, Texas 75201. It may be served

at its principal place of business or through its principal officer, James P. Seery, Jr., or through the

Texas Secretary of State, or through any other means authorized by federal or state law.

       4.      Defendant Highland HCF Advisor, Ltd. is a limited company incorporated under

the laws of the Cayman Islands. Its principal place of business is 300 Crescent Court, Suite 700,

Dallas, Texas 75201. It is a registered investment adviser (“RIA”) subject to the laws and

regulations of the Investment Advisers Act of 1940 (the “Adviser’s Act”). It is a wholly-owned

subsidiary of Highland Capital Management, L.P.

       5.      Defendant James Seery is an officer and/or director and/or control person of

Defendants Highland Capital Management, L.P., Highland CLO Funding, Ltd., and Highland HCF

Adviser, Ltd., and is a citizen of and domiciled in Floral Park, New York. He can be served

personally at 300 Crescent Court, Suite 700, Dallas, Texas 75201, or wherever he may be found.

       6.      Nominal Defendant Highland CLO Funding, Ltd. is a limited company

incorporated under the laws of the Island of Guernsey. Its registered office is at First Floor, Dorey


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Court, Admiral Park, St. Peter Port, Guernsey GY1 6HJ, Channel Islands. Its principal place of

business is 300 Crescent Court, Suite 700, Dallas, Texas 75201.

                                                   III.
                                  JURISDICTION AND VENUE
        7.      This Court has subject matter jurisdiction over this dispute under 28 U.S.C. § 1331

as one or more rights and/or causes of action arise under the laws of the United States. This Court

has supplemental subject matter jurisdiction over all other claims under 28 U.S.C. § 1367.

        8.      Personal jurisdiction is proper over the Defendants because they reside and/or have

continual contacts with the state of Texas, having regularly submitted to jurisdiction here.

Jurisdiction is also proper under 18 U.S.C. § 1965(d).

        9.      Venue is proper in this Court under 28 U.S.C. § 1391(b) and (c) because one or

more Defendants reside in this district and/or a substantial part of the events or omissions giving

rise to the claim occurred or a substantial part of property that is the subject of the action is situated

in this district. Venue in this district is further provided under 18 U.S.C. § 1965(d).

                                                   IV.
                                   RELEVANT BACKGROUND
                                        HCLOF IS FORMED
        10.     Plaintiff DAF is a charitable fund that helps several causes throughout the country,

including providing funding for humanitarian issues (such as veteran’s welfare associations and

women’s shelters), public works (such as museums, parks and zoos), and education (such as

specialty schools in underserved communities). Its mission is critical.

        11.     Since 2012, DAF was advised by its registered investment adviser, Highland

Capital Management, L.P., and its various subsidiaries, about where to invest. This relationship

was governed by an Investment advisory Agreement.



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        12.    At one point in 2017, HCM advised DAF to acquire 143,454,001 shares of HCLOF,

with HCFA (a subsidiary of HCM) serving as the portfolio manager. DAF did so via a holding

entity, Plaintiff CLO Holdco, Ltd.

        13.    On November 15, 2017, through a Subscription and Transfer Agreement, the DAF

entered into an agreement with others to sell and transfer shares in HCLOF, wherein the DAF

retained 49.02% in CLO Holdco.

        14.    Pursuant to that agreement, Harbourvest acquired the following interests in the

following entities:

        Harbourvest Dover Street IX Investment, L.P., acquired 35.49%;

        Harbourvest 2017 Global AIF, L.P., acquired 2.42%;

        Harbourvest 2017 lobal Fund, L.P., acquired 4.85%;

        HV International VIII Secondary, L.P., acquired 6.5%; and

        Harbourvest Skew Base AIF, L.P., acquired 0.72%;

for a total of 49.98% (altogether, the “Harbourvest interests”).

        15.    On or about October 16, 2019, Highland Capital Management filed for Chapter 11

bankruptcy in Delaware Bankruptcy Court, which was later transferred to the Northern District of

Texas Bankruptcy Court, in the case styled In Re: Highland Capital Management, L.P., Debtor,

Cause No. 19-34054, (the “HCM Bankruptcy” and the Court is the “Bankruptcy Court”).

        16.    HCLOF’s portfolio manager is HCFA. HCM is the parent of HCFA and is managed

by its General Partner, Strand Management, who employs Seery and acts on behalf of HCM. Seery

is the CEO of HCM which, upon information and belief, is the parent of HCFA.

        17.    Before acceding to the Harbourvest interests, HCM was a 0.6% holder of HCLOF

interests.



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                                The Harbourvest Settlement with
                          Highland Capital Management in Bankruptcy

        18.    On April 8, 2020, Harbourvest submitted its proofs of claim in the HCM bankruptcy

proceeding. Annexed to its proofs of claims was an explanation of the Proof of Claim and the basis

therefor setting out various pre-petition allegations of wrongdoing by HCM. See, e.g., Case No.

19-bk-34054, Doc. 1631-5.

        19.    The debtor, HCM, made an omnibus response to the proofs of claims, stating they

were duplicative of each other, overstated, late, and otherwise meritless.

        20.    Harbourvest responded to the omnibus objections on September 11, 2020. See

Cause No. 19-bk-34054, Doc. 1057.

        21.    Harbourvest represented that it had invested in HCLOF, purchasing 49.98% of

HCLOF’s outstanding shares.

        22.    Plaintiff CLO Holdco was and is also a 49.02% holder of HCLOF’s member

interests.

        23.    In its Omnibus Response, Harbourvest explained that its claims included

unliquidated legal claims for fraud, fraud in the inducement, RICO violations under 18 U.S.C.

1964, among others (the “Harbourvest Claims”). See Cause No. 19-bk-34054, Doc. 1057.

        24.    The Harbourvest Claims centered on allegations that when Harbourvest was

intending to invest in a pool of Collateralized Loan Obligations, or CLOs, that were then-managed

by Acis Capital Management (“Acis”), a subsidiary of HCM, HCM failed to disclose key facts

about ongoing litigation with a former employee, Josh Terry.

        25.    Harbourvest claimed that it had lost over $100 million in the HCLOF transaction

due to fraud, which, after trebling under the racketeering statute, it claimed it was entitled to over

$300 million in damages.


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        26.     Harbourvest contended that HCM never sufficiently disclosed the underlying facts

about the litigation with Terry, and HCM’s then-intended strategy to fight Terry caused HCLOF

to incur around $15 million in legal fees and costs. It contended that had it known the nature of the

lawsuit and how it would eventually turn out, Harbourvest never would have invested in HCLOF.

See Cause No. 19-bk-34054, Doc. 1057.

        27.     While even assuming Harbourvest’s underlying claims were valid as far as the lost

$15 million went, the true damage of the legal fees to Harbourvest would have been 49.98% of the

HCLOF losses (i.e., less than $7.5 million).

        28.     In truth, as of September 2020, Harbourvest had indeed lost some $52 million due

to the alleged diminishing value of the HCLOF assets (largely due to the underperformance of the

Acis entities3)—and the values were starting to recover.

        29.     HCM denied the allegations in the Bankruptcy Court. Other than the claim for

waste of corporate assets of $15 million, HCM at all times viewed the Harbourvest legal claims as

being worth near zero and having no merit.

        30.     On December 23, 2020, HCM moved the Court to approve a settlement between

itself and Harbourvest. No discovery had taken place between the parties, and Plaintiff did not

have any notice of the settlement terms or other factors prior to the motion’s filing (or even during

its pendency) in order to investigate its rights.

        31.     HCM set the hearing right after the Christmas and New Year’s holidays, almost

ensuring that no party would have the time to scrutinize the underpinnings of the deal.




  3
   Acis was being managed by Joshua Terry. JP Morgan had listed the four ACIS entities under his
management as the four worst performers of the 1200 CLOs it evaluated.


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       32.     On January 14, 2021, the Bankruptcy Court held an evidentiary hearing and

approved the settlement in a bench ruling, overruling the objections to the settlement.

       33.     An integral part of the settlement was allowing $45 million in unsecured claims

that, at the time of the agreement, were expected to net Harbourvest around 70 cents on the dollar.

In other words, Harbourvest was expected to recover around $31,500,000 from the allowed claims.

       34.     As part of the consideration for the $45 million in allowed claims, Harbourvest

agreed to transfer all of its interests in HCLOF to HCM.

       35.     HCM and Seery rationalized the settlement value by allocating $22.5 million of the

net value of the $45 million in unsecured claims as consideration to purchase Harbourvest’s

interests in HCLOF, meaning, if 70% of the unsecured claims—i.e., $31.5 million—was realized,

and $22.5 million of that would be allocated to the purchase price of the Harbourvest interests in

HCLOF, the true “settlement” for Harbourvest’s legal claims was closer to $9 million. Still $1.5

million over the reasonable damages amount that Harbourvest suffered.

       36.     Plaintiffs here are taking no position at this time about the propriety of settling the

Harbourvest legal claims for $9 million. That is for another day.

       37.     At the core of this lawsuit is the fact that HCM purchased the Harbourvest interests

in HCLOF for $22.5 million knowing that they were worth far more than that.

       38.     It has recently come to light that the Harbourvest interests, as of December 31,

2020, were worth in excess of $41,750,000, and they have continued to go up in value.

       39.     On November 30, 2020, which was less than a month prior to the filing of the

Motion to Approve the Settlement, the net asset value of those interests was over $34.5 million.

Plaintiffs were never made aware of that.




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          40.     The change was due to how the net asset value, or NAV, was calculated. The means

and methods for calculating the “net asset value” of the assets of HCLOF are subject to and

governed by the regulations passed by the SEC pursuant to the Adviser’s Act, and by HCM’s

internal policies and procedures.

          41.     Typically, the value of the securities are reflected by a market price quote.

          42.     However, the underlying securities in HCLOF are not liquid and had not been

traded in a long while. Therefore, any market quotes were stale.

          43.     There not having been any contemporaneous market quotations that could be used

in good faith to set the marks,4 meant that other prescribed methods of assessing the value of the

interests, such as the NAV, would have been the proper substitutes.

          44.     Seery testified that the fair market value of the Harbourvest HCLOF interests was

$22.5 million. Even allowing some leeway there, it was off by a mile.

          45.     Given the artifice described herein, Seery and the entity Defendants had to know

that the representation of the fair market value at $22.5 million was false because the NAV was so

much higher.

          46.     But it does not appear that they disclosed that fact to Harbourvest to whom they

owed fiduciary duties as the RIA in charge of HCLOF, and they certainly did not disclose the truth

to the Plaintiff. One would expect HCM to disclose that its trade with Harbourvest—or someone

in Harbourvest’s position—was sanitized by complete disclosure of the NAV of the interests, and

noting Harbourvest’s acceptance of the trade notwithstanding that disclosure. The abject silence

of the information’s disclosure—both in the Settlement Agreement and in the papers seeking to




  4
      The term “mark” is shorthand for an estimated or calculated value for a non-publicly traded instrument.


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approval of the settlement and the testimony proffered in its support—strongly suggests its absence

from the negotiations.

        47.    What it appears is that Seery used an old valuation, itself a reckless if not intentional

misrepresentation of value. Thus, it is either the case that (i) Defendants conducted the proper

analysis to obtain a current value of the assets but decided to use a far lower valuation in order to

whitewash the settlement or enrich the bankruptcy estate; or (ii) Defendants never conducted the

proper current valuation, and therefore baselessly represented what the current value of the assets

was, despite knowingly having no reasonable basis for making such a claim.

        48.    For years HCM had internal procedures and compliance protocols to govern this

not infrequent occurrence. Prior to Seery taking over as CEO, HCM’s internal compliance policies,

enforced by its compliance officers, prohibiting HCM from trading with an investor where HCM

had superior knowledge about the value of the assets, for example. While Plaintiff has no reason

to believe that those procedures were scrapped in recent months, it can only assume that they were

either overridden improperly or circumvented wholesale.

        49.    Upon finalizing the Harbourvest Settlement Agreement and making representations

to the Bankruptcy Court to the Plaintiffs about the value of the Harbourvest Interests, Seery and

HCM had a duty to use current values and not rely on old valuations of the assets or the HCLOF

interests.

        50.    Given Defendants’ actual or constructive knowledge that they were purchasing

Harbourvest’s Interests in HCLOF for a less than 50% of what those interests were worth—

Defendants owed Plaintiff a fiduciary duty not to purchase them for themselves.




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       51.     Defendants should have either had HCLOF repurchase the interests with cash, or

offer those interests to Plaintiff and the other members pro rata, before HCM agreed to purchase

them all lock, stock and barrel, for no up-front cash.

       52.     Indeed, had Plaintiff been offered those interests, it would have happily purchased

them and therefore would have infused over $20 million in cash into the estate for the purpose of

executing the Harbourvest Settlement.

       53.     That Defendants (and to perhaps a lesser extent, the Unsecured Creditors

Committee (the “UCC”)) agreed to pay $22.5 million for the HCLOF assets, where they had

previously not consented to any such expenditure by the estate on behalf of HCLOF, strongly

indicates their awareness that they were purchasing assets for far below market value.

       54.     The above is the most reasonable and plausible explanation for why Defendants

and the UCC forwent raising as much as $22.5 million in cash now in favor of hanging on to the

HCLOF assets.

       55.     Indeed, in January 2021 Seery threatened Ethen Powell that “[Judge Jernigan] is

laughing at you” and “we are coming after you” in response to the latter’s attempt to exercise his

right as beneficial holder of the CLO, and pointing out a conflict of interest in Seery’s plan to

liquidate the funds.

       56.     HCM’s threat, made by Seery, is tantamount to not only a declaration that he

intends to liquidate the funds regardless of whether the investors want to do so, and whether it is

in their best interests, but also that HCM intends to leverage what it views as the Bankruptcy

Court’s sympathy to evade accountability.

                                                 V.

                                     CAUSES OF ACTION



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                                        FIRST CAUSE OF ACTION
                                       Breaches of Fiduciary Duty

        57.      Plaintiffs respectfully incorporate the foregoing factual averments as if fully set

forth herein and further alleges the following:

        58.      HCM is a registered investment advisor and acts on behalf of HCFA. Both are

fiduciaries to Plaintiffs because HCM had a direct advisor agreement with the DAF at all relevant

times, and HCM, through HCFA, advised CLO Holdco in the HCLOF venture.

        59.      The Advisers Act establishes an unwaivable federal fiduciary duty for investment

advisers, 5 and its chief compliance officers.6

        60.      HCM and the DAF entered into an Amended and Restated Investment Advisory

Agreement, executed between them on July 1, 2014 (the “RIA Agreement”). It renews annually

and continued until the end of January 2021.

        61.      In addition to being the RIA to the DAF, HCM was appointed the DAF’s attorney-

in-fact for certain actions, such as “to purchase or otherwise trade in Financial Instruments that

have been approved by the General Partner.” RIA Agreement ¶ 4.




  5
    See e.g, SEC v. Capital Gains Research Bureau, Inc., 375 U.S. 180, 194 (1963); Transamerica Mortg.
Advisors (tama) v. Lewis, 444 U.S. 11, 17 (1979) (“§ 206 establishes ‘federal fiduciary standards’ to govern
the conduct of investment advisers.”); Santa Fe Indus, v. Green, 430 U.S. 462, 471, n.11 (1977) (in
discussing SEC v. Capital Gains, stating that the Supreme Court’s reference to fraud in the “equitable”
sense of the term was “premised on its recognition that Congress intended the Investment Advisers Act to
establish federal fiduciary standards for investment advisers”). See also Investment Advisers Act Release
No. 3060 (July 28, 2010) (“Under the Advisers Act, an adviser is a fiduciary whose duty is to serve the best
interests of its clients, which includes an obligation not to subrogate clients’ interests to its own”) (citing
Proxy Voting by Investment Advisers, Investment Advisers Act Release No. 2106 (Jan. 31, 2003)).
  6
    Advisers Act Rule 206(4)-7 (“An adviser’s chief compliance officer should be competent and
knowledgeable regarding the Advisers Act and should be empowered with full responsibility and authority
to develop and enforce appropriate policies and procedures for the firm.”).


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       62.     The RIA Agreement further commits HCM to value financial assets “in accordance

with the then current valuation policy of the Investment Advisor [HCM], a copy of which will

provided to the General Partner upon request.” RIA Agreement ¶ 5.

       63.     While HCM contracted for the recognition that it would be acting on behalf of

others and could be in conflict with advice given the DAF, (RIA Agreement ¶ 12), nowhere did it

purport to waive the fiduciary duties owed to the DAF not to trade as a principal in a manner that

harmed the DAF.

       64.     HCFA owed a fiduciary duty to Holdco as an investor in HCLOF and to which

HCFA was the portfolio manager. HCM owed a fiduciary duty to the DAF (and to Holdco as its

subsidiary) pursuant to a written Advisory Agreement HCM and the DAF had where HCM agreed

to provide sound investment advice and management functions.

       65.     As a registered investment adviser, HCM’s fiduciary duty is broad and applies to

the entire advisor-client relationship.

       66.     The core of the fiduciary duty is to act in the best interest of their investors—the

advisor must put the ends of the client before its own ends or the ends of a third party.

       67.     This is manifested in a duty of loyalty and a duty of utmost care. It also means that

the RIA has to follow the terms of the company agreements and the regulations that apply to the

investment vehicle.

       68.     Seery in controlling HCM, HCFA, and by extension, HCLOF, directly owed a

fiduciary duty to Plaintiffs by virtue of his position, or is liable for aiding and abetting HCM’s and

HCFA’s breaches of fiduciary duty by controlling them and either recklessly or intentionally

causing them to breach their duties.




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       69.     The fiduciary duty that HCM and Seery owed to Plaintiff is predicated on trust and

confidence. Section 204A of the Advisers Act requires investment advisors (whether SEC-

registered or not) to establish, maintain, and enforce written policies and procedures reasonably

designed to prevent the RIA from trading on material, non-public information. See 17 C.F.R. §

275.206(4)-7. That means that Plaintiff should be able to take Defendants at their word and not

have to second guess or dig behind representations made by them.

       70.     The simple thesis of this claim is that Defendants Seery, HCFA and HCM breached

their fiduciary duties by (i) insider trading with Harbourvest and concealing the rising NAV of the

underlying assets—i.e., trading with Harbourvest on superior, non-public information that was

neither revealed to Harbourvest nor to Plaintiff; (ii) concealing the value of the Harbourvest

Interests; and (iii) diverting the investment opportunity in the Harbourvest entities to HCM (or its

designee) without offering it to or making it available to Plaintiff or the DAF.

       71.     HCM, as part of its contractual advisory function with Plaintiffs, had expressly

recommended the HCLOF investment to the DAF. Thus, diverting the opportunity for returns on

its investment was an additional breach of fiduciary duty.

       72.     This violated a multitude of regulations under 27 C.F.R. part 275, in addition to

Rules 10b-5 and 10b5-1. 17 CFR 240.10b5-1 (“Rule 10b5-1”) explains that one who trades while

possessing non-public information is liable for insider trading, and they do not necessarily have to

have used the specific inside information.

       73.     It also violated HCM’s own internal policies and procedures.

       74.     Also, the regulations impose obligations on Defendants to calculate a current

valuation when communicating with an investor, such as what may or may not be taken into




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account, and what cannot pass muster as a current valuation. Upon information and belief, these

regulations were not followed by the Defendants.

        75.      HCM’s internal policies and procedures, which it promised to abide by both in the

RIA Agreement and in its Form ADV SEC filing, provided for the means of properly calculating

the value of the assets.

        76.      HCM either did not follow these policies, changed them to be out of compliance

both with the Adviser Act regulations and its Form ADV representations, and/or simply

misrepresented or concealed their results.

        77.      In so doing, because the fiduciary duty owed to Plaintiff is a broad one, and because

Defendants’ malfeasance directly implicates its relationship with Plaintiff, Defendants have

breached the Advisers Act’s fiduciary duties owed to Plaintiff as part of their fiduciary

relationship.7

        78.      At no time between agreeing with Harbourvest to the purchase of its interests and

the court approval did Defendants disclose to either Harbourvest or to Plaintiff (and the

Bankruptcy Court for that matter) that the purchase was at below 50% the current net asset value

as well, and when they failed to offer Plaintiff (and the other members of HCLOF) their right to

purchase the interests pro rata at such advantageous valuations. Plaintiff’s lost opportunity to

purchase has harmed Plaintiff. Plaintiff had been led to believe by the Defendants that the value

of what was being purchased in the Harbourvest settlement by HCM (or its designee) was at fair



  7
    See Advisers Act Release No. 4197 (Sept. 17, 2015) (Commission Opinion) (“[O]nce an investment
Advisory relationship is formed, the Advisers Act does not permit an adviser to exploit that fiduciary
relationship by defrauding his client in any investment transaction connected to the Advisory
relationship.”); see also SEC v. Lauer, No. 03-80612-CIV, 2008 U.S. Dist. LEXIS 73026, at 90 (S.D. Fla.
Sept. 24, 2008) (“Unlike the antifraud provisions of the Securities Act and the Exchange Act, Section 206
of the Advisers Act does not require that the activity be ‘in the offer or sale of any’ security or ‘in connection
with the purchase or sale of any security.’”).


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market value. This representation, repeated again in the Bankruptcy Court during the Harbourvest

confirmation, implicitly suggested that a proper current valuation had been performed.

       79.     Seery testified in January 2021 that the then-current fair market value of

Habourvests’s 49.98% interest in HCLOF was worth around $22.5 million.

       80.     But by then, it was worth almost double that amount and has continued to

appreciate. Seery knew or should have known that fact because the value of some of the HCLOF

assets had increased, and he had a duty to know the current value. His lack of actual knowledge,

while potentially not overtly fraudulent, would nonetheless amount to a reckless breach of

fiduciary duty for acting without proper diligence and information that was plainly available.

       81.     Furthermore, HCLOF holds equity in MGM Studios and debt in CCS Medical via

various CLO positions. But Seery, in his role as CEO of HCM, was made aware during an advisors

meeting in December 2020 that Highland would have to restrict its trading in MGM because of its

insider status due to activities that were likely to apply upward pressure on MGM’s share price.

       82.     Furthermore, Seery controlled the Board of CCS Medical. And in or around

October 2020, Seery was advocating an equatization that would have increased the value of the

CCS securities by 25%, which was not reflected in the HCM report of the NAV of HCLOF’s

holdings.

       83.     Seery’s knowledge is and should be imputed to HCM and HCFA.

       84.     Moreover, it is a breach of fiduciary duty to commit corporate waste, which is

effectively what disposing of the HCLOF assets would constitute in a rising market, where there

is no demand for disposition by the investors (save for HCM, whose proper 0.6% interest could

easily be sold to the DAF at fair value).




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       85.     As holder of 0.6% of the HCLOF interests, and now assignee of the 49.98%

Harbourvest Interests), HCM has essentially committed self-dealing by threatening to liquidate

HCLOF now that it may be compelled to do so under its proposed liquidation plan, which perhaps

inures to the short term goals of HCM but to the pecuniary detriment of the other holders of

HCLOF whose upside will be prematurely truncated.

       86.     Seery and HCM should not be allowed to benefit from the breach of their fiduciary

duties because doing so would also cause Plaintiffs irreparable harm. The means and methods of

disposal would likely render the full scope of damages to the DAF not susceptible to specific

calculation—particularly as they would relate to calculating the lost opportunity cost. Seery and

HCM likely do not have the assets to pay a judgment to Plaintiffs that would be rendered, simply

taking the lost appreciation of the HCLOF assets.

       87.     Defendants are thus liable for diverting a corporate opportunity or asset that would

or should have been offered to Plaintiff and the other investors. Because federal law makes the

duties invoked herein unwaivable, it is preposterous that HCM, as a 0.6% holder of HCLOF,

deemed itself entitled to the all of the value and optionality of the below-market Harbourvest

purchase.

       88.     Defendants cannot rely on any contractual provision that purports to waive this

violation. Nothing in any agreement purports to permit, authorize or otherwise sanitize

Defendants’ self-dealing. All such provisions are void.

       89.     In the fourth quarter of 2020, Seery and HCM notified staff that they would be

terminated on December 31, 2020. That termination was postponed to February 28, 2021.

Purchasing the Harbourvest assets without staffing necessary to be a functioning Registered




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Investment Advisor was a strategic reversal from prior filings that outlined canceling the CLO

management contracts and allowing investors to replace Highland as manager.

       90.     Seery’s compensation agreement with the UCC incentivizes him to expedite

recoveries and to prevent transparency regarding the Harbourvest settlement.

       91.     What is more, Seery had previously testified that the management contracts for the

funds—HCLOF included—were unprofitable, and that he intended to transfer them. But he later

rejected offers to purchase those management contracts for fair value and instead decided to

continue to manage the funds—which is what apparently gave rise to the Harbourvest Settlement,

among others. He simultaneously rejected an offer for the Harbourvest assets of $24 million,

stating that they were worth much more than that.

       92.     Because of Defendants’ malfeasance, Plaintiffs have lost over $25 million in

damages—a number that continues to rise—and the Defendants should not be able to obtain a

windfall.

       93.     For the same reason, Defendants’ malfeasance has also exposed HCLOF to a

massive liability from Harbourvest since the assignment of those interests is now one that is likely

unenforceable under the Advisers Act, Section 47(b), if there was unequal information.

       94.     Seery is liable as a principal and as an officer and control person under the

regulations promulgated pursuant to Dodd-Frank and other laws.

       95.     HCM and HCFA are liable as principals for breach of fiduciary duty, as are the

principals and compliance staff of each entity.

       96.     Plaintiffs seek disgorgement, damages, exemplary damages, attorneys’ fees and

costs. To the extent the Court determines that this claim had to have been brought derivatively on




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behalf of HCLOF, then Plaintiffs represent that any pre-suit demand would have been futile since

asking HCM to bring suit against its principal, Seery, would have been futile.

                                   SECOND CAUSE OF ACTION
                              Breach of HCLOF Company Agreement
                          (By Holdco against HCLOF, HCM and HCFA)

           97.    Plaintiffs respectfully incorporate the foregoing factual averments as if fully set

 forth herein and further alleges the following:

           98.    On November 15, 2017, the members of HCLOF, along with HCLOF and HCFA,

executed the Members Agreement Relating to the Company (the “Company Agreement”).

           99.    The Company Agreement governs the rights and duties of the members of HCLOF.

           100.   Section 6.2 of HCLOF Company Agreement provides that when a member “other

than … CLO Holdco [Plaintiff] or a Highland Affiliate,” intends to sell its interest in HCLOF to a

third party (i.e., not to an affiliate of the selling member), then the other members have the first

right of refusal to purchase those interests pro rata for the same price that the member has agreed

to sell.

           101.   Here, despite the fact that Harbourvest agreed to sell its interests in HCLOF for

$22.5 million when they were worth more than double that, Defendants did not offer Plaintiff the

chance to buy its pro rata share of those interests at the same agreed price of $22.5 million (adjusted

pro rata).

           102.   The transfer and sale of the interests to HCM were accomplished as part of the

Harbourvest Settlement which was approved by the Bankruptcy Court.

           103.   Plaintiff was not informed of the fact that Harbourvest had offered its shares to

Defendant HCM for $22.5 million—which was under 50% of their true value.




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       104.    Plaintiff was not offered the right to purchase its pro rata share of the Harbourvest

interests prior to the agreement being struck or prior to court approval being sought.

       105.    Had Plaintiff been allowed to do so, it would have obtained the interests with a net

equity value over their purchase price worth in excess of $20 million.

       106.    No discovery or opportunity to investigate was afforded Plaintiff prior to lodging

an objection in the Bankruptcy Court.

       107.    Plaintiff is entitled to specific performance or, declaratory relief, and/or

disgorgement, constructive trust, damages, attorneys’ fees and costs.

                                THIRD CAUSE OF ACTION
                                      Negligence
               (By the DAF and CLO Holdco against Seery, HCM, and HCFA)

       108.    Plaintiffs respectfully incorporate the foregoing factual averments as if fully set

forth herein, and further alleges the following:

       109.    Plaintiffs incorporate the foregoing causes of action and note that all the foregoing

violations were breaches of the common law duty of care imposed by law on each of Seery, HCFA

and HCM.

       110.    Each of these Defendants should have known that their actions were violations of

the Advisers Act, HCM’s internal policies and procedures, the Company Agreement, or all three.

       111.    Seery and HCM owed duties of care to Plaintiffs to follow HCM’s internal policies

and procedures regarding both the propriety and means of trading with a customer [Harbourvest],

the propriety and means of trading as a principal in an account but in a manner adverse to another

customer [the DAF and Holdco], and the proper means of valuing the CLOs and other assets held

by HCLOF.




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       112.    It would be foreseeable that failing to disclose the current value of the assets in the

HCLOF would impact Plaintiffs negatively in a variety of ways.

       113.    It would be reasonably foreseeable that failing to correctly and accurately calculate

the current net asset value of the market value of the interests would cause Plaintiffs to value the

Harbourvest Interests differently.

       114.    It would be reasonably foreseeable that referring to old and antiquated market

quotations and/or valuations of the HCLOF assets or interests would result in a mis-valuation of

HCLOF and, therefore, a mis-valuation of the Harbourvest Interests.

       115.    Relying on stale valuations without updating them was reckless due to Seery’s and

HCM’s knowledge that the values of the interests were not static and likely would have changed

over time, such that old information had a high degree of probability of being inaccurate.

       116.    Seery’s and HCM’s failure to inform the DAF and Holdco of the updated

valuations, and/or to misstate the value in January 2021 in support of the Harbourvest settlement

was likewise reckless in the face of the known risk that Plaintiffs would be relying on those

representations, as would Harbourvest and the Court.

       117.    Seery’s and HCM’s failure to offer the DAF and Holdco the right to purchase the

Harboruvest Interests was likewise reckless in light of the obvious risk.

       118.    Likewise, it would have been foreseeable that Plaintiff’s failure to give Plaintiff the

opportunity to purchase the Harbourvest shares at a $22.5 million valuation would cause Plaintiff

damages. Defendants knew that the value of those assets was rising. They further knew or should

have known that whereas those assets were sold to HCM for an allowance of claims to be funded

in the future, selling them to Plaintiff would have provided the estate with cash funds.




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       119.       Defendants’ negligence or gross negligence foreseeably and directly caused

Plaintiff harm.

       120.       Plaintiff is thus entitled to damages.

                                      FOURTH CAUSE OF ACTION
                        Racketeering Influenced Corrupt Organizations Act
                          (CLO Holdco and DAF against HCM and Seery)

       121.       Plaintiffs respectfully incorporate the foregoing factual averments as if fully set

forth herein, and further alleges the following:

       122.       Defendants HCM and Seery are liable for violations of the Racketeer Influenced

and Corrupt Organizations (“RICO”) Act, 18 U.S.C. § 1961 et seq., for the conduct of an enterprise

through a pattern of racketeering activity.

       123.       HCLOF constitutes an enterprise under the RICO Act. Additionally, or in the

alternative, HCM, HCLA, and HCLOF constituted an association-in-fact enterprise. The purpose

of the association-in-fact was the perpetuation of Seery’s position at HCM and using the

Harbourvest settlement as a vehicle to enrich persons other than the HCLOF investors, including

Holdco and the DAF, and the perpetuation of HCM’s holdings in collateralized loan obligations

owned by HCLOF, while attempting to deny Plaintiffs the benefit of its rights of ownership.

       124.       The association-in-fact was bound by informal and formal connections for years

prior to the elicit purpose, and then changed when HCM and Seery joined it in order to achieve

the association’s illicit purpose. For example, HCM is the parent and control person over HCFA,

which is the portfolio manager of HCLOF pursuant to a contractual agreement—both are

registered investment advisors and provide advisory and management services to HCLOF.

       125.       HCM and Seery injured Plaintiffs through their continuous course of conduct of the

HCM-HCLA-HCLOF association-in-fact enterprise. Seery’s actions (performed on behalf of



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HCM and the association-in-fact enterprise) constitute violations of the federal wire fraud, mail

fraud, fraud in connection with a case under Title 11, and/or securities fraud laws, pursuant to 18

U.S.C. § 1961(1)(B) and (D).

       126.    Seery operated HCM in such a way as to violate insider trading rules and

regulations when it traded with Harbourvest while it had material, non-public information that it

had not supplied to Harbourvest or to Plaintiffs.

       127.    In or about November 2020, HCM and Harbourvest entered into discussions about

settling the Harbourvest Claims. Seery’s conduct of HCLOF and HCLA on behalf of HCM through

the interstate mails and/or wires caused HCM to agree to the purchase of Harbourvest’s interests

in HCLOF.

       128.    On or about each of September 30, 2020, through December 31, 2020, Seery,

through his conduct of the enterprise, utilized the interstate wires and/or mails to obtain or arrive

at valuations of the HCLOF interests. Seery’s conduct of the enterprise caused them to cease

sending the valuation reports to Plaintiffs, which eventually allowed Plaintiffs to be misled into

believing that Seery had properly valued the interests.

       129.    On or about September 30, 2020, Seery transmitted or caused to be transmitted

though the interstate wires information to HCLOF investors from HCM (via HCFA), including

Harbourvest, regarding the value of HCLOF interests and underlying assets.

       130.    Additionally, Seery operated HCM in such a way that he concealed the true value

of the HCLOF interests by utilizing the interstate wires and mails to transmit communications to

the court in the form of written representations on or about December 23, 2020, and then further

transmitted verbal representations of the current market value (the vastly understated one) on

January 14, 2021, during live testimony.



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       131.    However, Harbourvest was denied the full picture and the true value of the

underlying portfolio. At the end of October and November of 2020, HCM had updated the net

asset values of the HCLOF portfolio. According to sources at HCM at the time, the HCLOF assets

were worth north of $72,969,492 as of November 30, 2020. Harbourvest’s share of that would

have been $36,484,746.

       132.    The HCLOF net asset value had reached $86,440,024 as of December 31, 2021,

which means that by the time Seery was testifying in the Bankruptcy Court on January 14, 2021,

that the fair market value of the Harbourvest Assets was $22.5 million, it was actually closer to

$43,202,724.

       133.    Seery, speaking on behalf of HCM, knew of the distinction in value and made the

representations either knowingly or with reckless disregard for the truth.

       134.    On January 14, 2021, Seery also testified that he (implying HCM, HCLA and

HCLOF) had valued the Harbourvest Assets at their current valuation and at fair market value.

This was not true because the valuation that was used and testified to was at that time ancient. The

ostensible purpose of this concealment was to induce Plaintiff and other interest holdings to take

no action.

       135.    In supporting HCM’s motion to the Bankruptcy Court to approve the Harbourvest

Settlement, Seery omitted the fact that HCM was purchasing the interests at a massive discount,

which would violate the letter and spirit of the federal Adviser’s Act.

       136.    Seery was informed in late December 2020 at an in-person meeting in Dallas to

which Seery had to fly that HCLOF and HCM had to suspend trading in MGM Studios’ securities

because Seery had learned from James Dondero, who was on the Board of MGM, of a potential

purchase of the company. The news of the MGM purchase should have caused Seery to revalue



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the HCLOF investment in MGM. Seery’s failure to disclose this information which would have

been germane to the valuation of the Harbourvest Interests was another incidence of wrongful

omission in violation of the Advisers Act’s antifraud provision and RICO.

       137.    In or around October 2020, Seery (who controls the Board of CSS Medical) was

pursuing “equatization” of CSS Medical’s debt, which would have increased the value of certain

securities by 25%. In several communications through the U.S. interstate wires and/or mails, and

with Plaintiffs, and the several communications with Harbourvest during the negotiations of the

settlement, Seery failed to disclose these changes which were responsible in part for the ever-

growing value of the HCLOF CLO portfolio. Seery’s failure to disclose this information which

would have been germane to the valuation of the Harbourvest Interests was another incidence of

wrongful omission in violation of the Advisers Act’s antifraud provision and RICO.

       138.    Seery’s failure to disclose the information about the current valuation, which would

have been material to the value of the Harbourvest Interest—and by extension, to Plaintiff’s rights

with respect to those as part of the Harbourvest Settlement was another incidence of wrongful

omission in violation of the Advisers Act’s antifraud provision and RICO.

       139.    The Harbourvest Settlement is not final and unwinding it could prove difficult—

which Seery had to be counting on.

       140.    Seery was at all relevant times operating as an agent of HCM and its control person

as CEO.

       141.    This series of related violations of the wire fraud, mail fraud, and securities fraud

laws, in connection with the HCM bankruptcy, constitute a continuing pattern and practice of

racketeering for the purpose of winning a windfall for HCM and himself--a nearly $30,000,000

payday under the confirmation agreement.



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        142.    The federal RICO statute makes it actionable for one’s conduct of an enterprise to

include “fraud in connection with a [bankruptcy case]”. The Advisers’ Act antifraud provisions

require full transparency and accountability to an advisers’ investors and clients and does not

require a showing of reliance or materiality. The wire fraud provision likewise is violated when,

as here, the interstate wires are used as part of a “scheme or artifice … for obtaining money or

property by means of false … pretenses, [or] representations[.]”

        143.    Accordingly, because Seery and HCM’s conduct violated the wire fraud and mail

fraud laws, and the Advisers’ Act antifraud provisions, and their acts and omissions were in

connection with the HCM Bankruptcy proceedings under Title 11, they are sufficient to bring such

conduct within the purview of the RICO civil action provisions, 18 U.S.C. § 1964.

        144.    Plaintiffs are thus entitled to damages, treble damages, attorneys’ fees and costs of

suit, in addition to all other injunctive or equitable relief to which they are justly entitled.

                                   FIFTH CAUSE OF ACTION
                                     Tortious Interference
                              (CLO Holdco against HCM and Seery)

        145.    Plaintiff respectfully incorporates the foregoing factual averments as if fully set

forth herein and further alleges the following:

        146.    At all relevant times, HCM owned a 0.6% interest in HCLOF.

        147.    At all relevant times, Seery and HCM knew that Plaintiff had specific rights in

HCLOF under the Company Agreement, § 6.2.

        148.    Section 6.2 of HCLOF Company agreement provides that when a member “other

than … CLO Holdco [Plaintiff] or a Highland Affiliate,” intends to sell its interest in HCLOF to a

third party (i.e., not an affiliate of the member), then the other members have the first right of

refusal to purchase those interests pro rata for the same price that the member has agreed to sell.



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       149.    HCM, through Seery, tortiously interfered with Plaintiff’s contractual rights with

HCLOF by, among other things, diverting the Harbourvest Interests in HCLOF to HCM without

giving HCLOF or Plaintiff the option to purchase those assets at the same favorable price that

HCM obtained them.

       150.     HCM and Seery tortiously interfered with Plaintiff’s contractual rights with

HCLOF by, among other things, misrepresenting the fair market value as $22.5 million and

concealing the current value of those interests.

       151.    But for HCM and Seery’s tortious interference, Plaintiff would have been able to

acquire the Harbourvest Interests at a highly favorable price. HCM and Seery’s knowledge of the

rights and intentional interference with these rights has caused damage to Plaintiff CLO Holdco.

       152.    Plaintiff is therefore entitled to damages from HCM and Seery, as well as

exemplary damages.

                                                   VI.

                                        JURY DEMAND

       153.    Plaintiffs demand trial by jury on all claims so triable.

                                                   VII.

                                    PRAYER FOR RELIEF

       154.    Wherefore, for the foregoing reasons, Plaintiffs respectfully pray that the Court

enter judgment in their favor and against Defendants, jointly and severally, for:

           a. Actual damages;

           b. Disgorgement;

           c. Treble damages;

           d. Exemplary and punitive damages;



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           e. Attorneys’ fees and costs as allowed by common law, statute or contract;

           f. A constructive trust to avoid dissipation of assets;

           g. All such other relief to which Plaintiff is justly entitled.



Dated: April 19, 2021                                 Respectfully submitted,

                                                      SBAITI & COMPANY PLLC

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Counsel for the Debtor and Debtor-in-Possession

                       UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION
   In re:                       §
                                §
   HIGHLAND CAPITAL MANAGEMENT, §                    Case No. 19-34054
   L.P.,                        §                    Chapter 11
                                §
   Debtor.                      §
                                §
                                                     Response Deadline: July 10, 2020 at 5:00 p.m.
                                                         Hearing Date: July 14, 2020 at 1:30 p.m.

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            SECTIONS 105(a) AND 363(b) FOR AUTHORIZATION TO
        RETAIN JAMES P. SEERY, JR., AS CHIEF EXECUTIVE OFFICER,
      CHIEF RESTRUCTURING OFFICER AND FOREIGN REPRESENTATIVE
                   NUNC PRO TUNC TO MARCH 15, 2020




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               The above-FDSWLRQHG GHEWRU DQG GHEWRU LQ SRVVHVVLRQ WKH ³Debtor´  KHUHE\

PRYHV WKH ³Motion´ pursuant to sections 105(a) and 363(b) of title 11 of the United States

Code, 11 U.S.C. §§ 101± WKH³Bankruptcy Code´ IRUWKHHQWU\RIDQ order, substantially in

the form attached hereto as Exhibit A WKH³Proposed Order´  authorizing the Debtor (a) (i) to

retain James P. Seery, Jr. as the chief executive officer and chief restructuring officer of the

Debtor, pursuant to the terms of the letter attached as Exhibit 1 to the Proposed Order (the

³Agreement´ nunc pro tunc to March 15, 2020, and (ii) foU0U6HHU\WRUHSODFHWKH'HEWRU¶V

current chief restructuring officer as the Debtor¶VIRUHLJQUHSUHVHQWDWLYHSXUVXDQWWR86&

1505, and (b) granting related relief. In support of the Motion, the Debtor respectfully represents

as follows:

                                             Jurisdiction

               1.      The United States Bankruptcy Court for the Northern District of Texas

 WKH ³Court´  KDV MXULVGLFWLRQ RYHU WKLV PDWWHU SXUVXDQW WR  86&  157 and 1334. This

matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2).

               2.      The bases for the relief requested herein are sections 105 and 363 of the

Bankruptcy Code.

                                             Background

               3.      2Q 2FWREHU   WKH ³Petition Date´  WKH 'HEWRU ILOHG D YROXQWDU\

petition for relief under chapter 11 of the Bankruptcy Code in the Bankruptcy Court for the

District of Delaware, Case No. 19- &66  WKH³Delaware Bankruptcy Court´ 

               4.      On October 29, 2019, the Official Committee of Unsecured Creditors (the

³Committee´ ZDVDSSRLQWHGE\WKH867UXVWHHLQWKH'HODZDUH&RXUW2Q'HFHPEHU




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the Delaware %DQNUXSWF\&RXUWHQWHUHGDQRUGHUWUDQVIHUULQJYHQXHRIWKH'HEWRU¶VFKDSWHU

case to this Court [Docket No. 186].1

                    5.       The Debtor has continued in the possession of its property and has

continued to operate and manage its business as a debtor-in-possession pursuant to sections

1107(a) and 1108 of the Bankruptcy Code. No trustee or examiner has been appointed in this

chapter 11 case.

                    6.       On December 4, 2019, the Debtor filed in the Delaware Bankruptcy Court

its Motion of the Debtor Pursuant to 11 U.S.C. §§ 105(a) and 363(b) To Retain Development

Specialists, Inc. to Provide a Chief Restructuring Officer, Additional Personnel, and Financial

Advisory and Restructuring-Related Services, Nunc Pro Tunc, as of the Petition Date [Docket

1R@ WKH³CRO Motion´ 7he CRO Motion sought, among other things, to appoint Bradley

6KDUS DV WKH 'HEWRU¶V FKief restructuring officer and for DSI to provide financial advisory

services to the Debtor in support of Mr. Sharp.

                    7.       On December 27, 2019, the Debtor filed the Motion of the Debtor for

Approval of Settlement with the Official Committee of Unsecured Creditors Regarding

Governance of the Debtor and Procedures for Operations in the Ordinary Course [Docket No.

@ WKH ³Settlement Motion´   7KH 6HWWOHPHQW 0RWLRQ VRXJKW DSSURval of the settlement

between the Debtor and the Committee and provided for, among other things, the creation of a

new independent board of directors of Strand Advisors, Inc.2 WKH ³New Board´  FRQVLVWLQJ RI




1
    All docket numbers refer to the docket maintained by this Court.
2
    Strand Advisors, InF ³Strand´ LVWKHJHQHUDOSDUWQHURIWKH'HEWRU




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James P. Seery, Jr., John S. Dubel, and Russell 1HOPV FROOHFWLYHO\ WKH ³Independent

Directors´ 

                 8.       The order granting the Settlement Motion authorized the Debtor to

JXDUDQWHH6WUDQG¶VREOLJDWLRQVWRLQGHPQLI\HDFK,QGHSHQGHQW'LUHFWRUSXUVXDQWWRWKHWHUPVRI

any indemnification agreements entered into by Strand with each of the Independent Directors

    WKH³Indemnification Agreements´ .

                 9.       The Court entered orders approving the Settlement Motion on January 9,

20203 and the DSI Approval Order on January 10, 2020.

                 10.      The Settlement Order approved, among other things, a term sheet setting

forth the agreement between the Debtor and the Committee. The final term sheet was attached to

the Notice of Final Term Sheet filed in the Court on January 14, 2020 [Docket No. 354] (the

³Final Term Sheet´   7KH 6HWWOHPHQt Order also provided that no entity could commence or

pursue a claim or cause of action against any Independent Director and/or his respective advisors

and agents relating in any way to his role as an independent director of Strand unless authorized

by this Court pursuant to the criteria set forth in the Settlement Order.4

                 11.      The SettlemeQW 0RWLRQ DQG )LQDO 7HUP HDFK SURYLGHG WKDW ³>D@V VRRQ DV

practicable after their appointments, the Independent Directors shall, in consultation with the

3
  See Order Approving Settlement with Official Committee of Unsecured Creditors Regarding Governance of the
Debtor and the Procedures for Operations in the Ordinary Course >'RFNHW1R@ WKH³Settlement Order´ 
4
  Specifically, paragraph 10 of the Settlement Order provides:
         No entity may commence or pursue a claim or cause of action of any kind against any Independent
         'LUHFWRU DQ\ ,QGHSHQGHQW 'LUHFWRU¶V DJHQWV RU DQ\ ,QGHSHQGHQW 'LUHFWRU¶V DGYLVRUV Uelating in
         DQ\ZD\WRWKH,QGHSHQGHQW'LUHFWRU¶VUROHDVDQLQGHSHQGHQWGLUHFWRURI6WUDQGZLWKRXWWKH&RXUW
         (i) first determining after notice that such claim or cause of action represents a colorable claim of
         willful misconduct or gross negligence againsW,QGHSHQGHQW'LUHFWRUDQ\,QGHSHQGHQW'LUHFWRU¶V
         DJHQWVRUDQ\,QGHSHQGHQW'LUHFWRU¶VDGYLVRUVDQG LL VSHFLILFDOO\authorizing such entity to bring
         such claim. The Court will have sole jurisdiction to adjudicate any such claim for which approval
         of the Court to commence or pursue has been granted.




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Committee, determine whether a CEO should be appointed for the Debtor. If the Independent

Directors determine that appointment of a CEO is appropriate, the Independent Directors shall

appoint a CEO acceptable to the Committee as soon as possible, which may be one of the

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                12.     On February 18, 2020, the Court entered its Order (I) Authorizing Bradley

D. Sharp to Act as Foreign Representative Pursuant to 11 U.S.C. § 1505 and (II) Granting

Related Relief [DoFNHW 1R @ WKH ³Foreign Representative Order´   7KH )RUHLJQ

Representative Order DXWKRUL]HG0U6KDUSDVFKLHIUHVWUXFWXULQJRIILFHUWRDFWDVWKH'HEWRU¶V

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Representative´   7KH )RUHLJQ 5HSUHVHQWDWLYH VSHFLILFDOO\ DSSRLQWHG 0U 6KDUS WR DFW DV WKH

'HEWRU¶V IRUHLJQ LQVROYHQF\ RIILFHKROGHU WR VHHN DSSURSULDWH UHOLHI LQ %HUPXGD SXUVXDQW WR

%HUPXGLDQ FRPPRQ ODZ WKH ³Bermuda Foreign Representative´  DQG WKH &D\PDQ ,VODQds

pursuant to Section 241(1) of the Companies Law (2019 Revision) with respect to that British

RYHUVHDVWHUULWRU\ WKH³Cayman Foreign Representative´ 

                13.     Since the appointment of the Independent Directors, it was apparent that it

would be more efficient to have a traditional corporate management structure oversee the Debtor

± i.e., a fully engaged chief executive officer supervised by the New Board ± as contemplated by

WKH)LQDO7HUP6KHHW7KLVQHHGZDVGULYHQE\WKHFRPSOH[LW\RIWKH'HEWRU¶VRUJDQL]DWLRn and

business operations and the need for daily management and oversight of the DebtRU¶VSHUVRQQHO

The search for a chief executive officer, however, was delayed while the Independent Directors

PDGHLQLWLDOHIIRUWVWROHDUQWKH'HEWRU¶VEXVLQHVVDQGLWV day-to-day operations. It was further

delayed with the onset of the COVID-19 global pandemic, which both had a serious impact on




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appropriate chief executive officer.

                 14.    During this time, however, Mr. Seery integrated himself into the daily

opHUDWLRQV RI WKH 'HEWRU DQG EHFDPH HVVHQWLDO LQ VWDELOL]LQJ WKH 'HEWRU¶V DVVHWV DQG WUDGLQJ

accounts during the economic distress caused by COVID-19. While Mr. Dubel and Mr. Nelms

were each spending on average approximately 140 hours a month addressing the operational

LVVXHVIDFLQJWKH'HEWRUDQGFHUWDLQRILWVIXQGHQWLWLHV0U6HHU\¶VZRUNORDGZDVDWOHDVW

hours a month.

                 15.    As such, it was readily apparent to the Independent Directors who would

be the best fit for the role: Mr. Seery. Mr. Seery had the appropriate skill set, extensive relevant

background, and was already carrying the responsibility of the role.              Mr. Seery had been

IXQFWLRQDOO\RSHUDWLQJDVWKH'HEWRU¶V de facto chief executive officer since at least early March

and was already overseeiQJ WKH 'HEWRU¶V RUGLQDU\ FRXUVH RSHUDWLRQV LQFOXGLQJ PDQDJLQJ WKH

'HEWRU¶VSHUVRQQHODQGWKHGDLO\LQWHUDFWLRQVZLWKWKH'HEWRU¶VEDQNUXSWF\SURIHVVLRQDOV

                 16.    The Independent Directors subsequently appointed a compensation

committee consisting of Messrs. DubHODQG1HOPV WKH³Compensation Committee´ WRQHJRWLDWH

the terms and conditions of the Agreement on behalf of the Debtor. And, on June 23, 2020, the

Compensation CommitWHHDSSURYHGWKHDSSRLQWPHQWRI0U6HHU\WRVHUYHDVERWKWKH'HEWRU¶V

chief executive officer and chief restructuring officer concurrently with his role as one of the

Independent Directors pursuant to the terms of the Agreement. Because Mr. Seery has been

fulfilling the role since March 2020, the Compensation Committee determined that it was

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restructuring officer effective as of March 15, 2020.5 The Independent Directors also authorized

the Debtor to file this Motion.

 A.       The Chief Executive Officer and Chief Restructuring Officer Positions

                  17.      Mr. Seery has agreed to, among other things, provide daily leadership and

GLUHFWLRQ WR WKH 'HEWRU¶V HPSOR\HHV RQ EXVLQHVV DQG restructuring matters relating to the

'HEWRU¶VFKDSWHUFDVH,QWKDWFDSDFLW\KH ZLOOGLUHFWWKH'HEWRU¶VGD\-to-day ordinary course

RSHUDWLRQV RYHUVHH WKH 'HEWRU¶V SHUVRQQHO PDNH PDQDJHPHQW GHFLVLRQV ZLWK UHVSHFW WR WKH

'HEWRU¶V WUDGLQJ RSHUDWLRQV GLUHFW WKH 'HEWRU¶V UHRUJDQL]DWLRQ HIIRUWV PRQHWL]H WKH 'HEWRU¶V

assets, oversee the claims objection and resolution process, and lead the process toward the

hopeful consensual confirmation of a plan in this chapter 11 case in the capacities as chief

executive officer and chief restructuring officer positions. Mr. Seery would report directly to the

New Board and would continue to serve as an Independent Director, as provided under the

Settlement Order.

                  18.      Mr. Seery has extensive management and restructuring experience. Mr.

Seery recently served as a Senior Managing Director at Guggenheim Securities, LLC, where he

was responsible for helping direct the development of a credit business.                           Prior to joining

Guggenheim, Mr. Seery was the President and a senior investing partner of River Birch Capital,

LLC, where he was responsible for originating, executing, and managing stressed and distressed

credit investments. Mr. Seery is also a long-time attorney licensed to practice in New York who



5
  7KH &RPPLWWHH KDV DOVR DJUHHG WR 0U 6HHU\¶V DSSRLQWPHQW DV FKLHI H[HFutive officer and chief restructuring
RIILFHUDQGWRWKHDPRXQWRI0U6HHU\¶V%DVH&RPSHQVDWLRQ DVGHILQHGEHORZ 7KH&RPPLWWHHKDV not agreed,
however, as to the amount and timing of the payment of the Restructuring Fee (defined below) and are continuing to
discuss payment of the Restructuring Fee with the Compensation Committee.




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has run corporate reorganization groups and numerous restructuring matters. He also served as a

Commissioner RI WKH $PHULFDQ %DQNUXSWF\ ,QVWLWXWH¶V &RPPLVVLRQ WR 6WXG\ WKH 5HIRUP RI

&KDSWHU0U6HHU\ZDVDOVRD0DQDJLQJ'LUHFWRUDQGWKH*OREDO+HDGRI/HKPDQ%URWKHUV¶

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and high yield loans business, including underwriting commitments, distribution, hedging,

trading and sales (including CLO manager relationships), portfolio management and

UHVWUXFWXULQJ)URPWR0U6HHU\UDQ/HKPDQ%URWKHUV¶UHVWUXFWXULQJDnd workout

businesses with responsibility for the management of distressed corporate debt investments and

was a key member of the small team that successfully sold Lehman Brothers to Barclays in 2008.

                                              The Agreement

                19.      The Compensation Committee negotiated the Agreement with Mr. Seery

DWDUP¶VOHQJWK7KHDGGLWLRQDOPDWHULDOHFRQRPLFWHUPVRIWKH$JUHHPHQWDUHDVIROORZV6

                (a) Term: Commencing retroactively to March 15, 2020.

                (b) Roles: Mr. Seery shall serve as the chief executive officer and
                chief restructuring officer of the Debtor and shall be responsible
                for the overall management of the business of the Debtor during its
                FKDSWHU  FDVH LQFOXGLQJ GLUHFWLQJ WKH 'HEWRU¶V day-to-day
                RUGLQDU\ FRXUVH RSHUDWLRQV RYHUVHHLQJ WKH 'HEWRU¶V SHUVRQQHO
                making manaJHPHQWGHFLVLRQVZLWKUHVSHFWWRWKH'HEWRU¶VWUDGLQJ
                operations, directing the reorganization and restructuring of the
                'HEWRU WKH PRQHWL]DWLRQ RI WKH 'HEWRU¶V DVVHWV UHsolution of
                claims, the development and negotiation of a plan of
                reorganization or liquidation, and the implementation of such plan.
                Mr. Seery shall remain a full member of the New Board and shall
                be entitled to vote on matters other than on those in which he is
                conflicted. Mr. Seery shall devote as much time to the engagement
                as he determines is required to execute his responsibilities as chief
                executive officer and chief restructuring officer. Mr. Seery will
                have no specific on-site requirements in Dallas, Texas, but shall be

6
  What follows is by way of summary only and is qualified in its entirety by reference to the Agreement, which
controls. Capitalized terms not otherwise defined herein have the meanings ascribed to them in the Agreement.




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                 on site as much as he determines is necessary to execute his
                 responsibilities as chief executive officer and chief restructuring
                 officer, consistent with applicable COVID-19 orders, protocols and
                 advice.

                 (c) Compensation for Services  0U 6HHU\¶V FRPSHQVDWLRQ XQGHU
                 the Agreement shall consist of the following:

                         (1) Base Compensation: $150,000 per month, which shall
                         be due and payable at the start of each calendar month; plus

                         (2) Bonus Compensation; Restructuring Fee:

                         Subject to separate Bankruptcy Court approval, the
                         Compensation Committee and Mr. Seery have reached
                         agreement on the payment of a restructuring fee upon
                         confirmation of either a Case Resolution Plan or a
                         Monetization Vehicle Plan in each case as defined below
                          WKH ³Restructuring Fee´ 7 The Committee has not yet
                         agreed to the amount, composition, and timing of the
                         Restructuring Fee. The Compensation Committee and Mr.
                         Seery have agreed to defer Court consideration of the
                         Restructuring Fee until further development in the Case.
                         The Restructuring Fee agreed to by Mr. Seery and the
                         Compensation Committee is as follows:

                         Case Resolution Restructuring Plan

                         On confirmation of any plan or reorganization or
                         liquidation based on resolution of a material amount of the
                         outstanding claims and their respective treatment, even if
                         such plan includes (x) a debtor/creditor trust or similar
                         monetization and claims resolution vehicle, (y) post-
                         confirmation litigation of certain of the claims, and (z)
                         post-confirmation monetization of deEWRU DVVHWV D ³Case
                         Resolution Plan´ 

                                  $1,000,000 on confirmation of the Case Resolution
                                  Plan;

                                  $500,000 on the effective date of the Case
                                  Resolution Plan; and


7
  Although the Compensation Committee and Mr. Seery have agreed on the amount and timing of the Restructuring
Fee, both the Compensation Committee and Mr. Seery understand that the Restructuring Fee is payable only upon
order of this Court. The Compensation Committee is reserving the right to seek approval of the Restructuring Fee
from this Court in connection with the confirmation hearing on a plan or as otherwise appropriate.




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                              $750,000 on completion of cash or property
                              distributions to creditors as contemplated by the
                              Case Resolution Plan.

                      Debtor/Creditor Monetization Vehicle Restructuring Fee:

                      On confirmation of any plan or reorganization or
                      liquidation based on a debtor/creditor trust or similar asset
                      monetization and claims resolution vehicle that does not
                      include agreement among the debtor and creditors on a
                      material amount of the outstanding claims and their
                      UHVSHFWLYH WUHDWPHQW DW FRQILUPDWLRQ D ³Monetization
                      Vehicle Plan´ 

                              $500,000 on confirmation of the Monetization
                              Vehicle Plan;

                              $250,000 on the effective date of the Monetization
                              Vehicle Plan; and

                              A contingent restructuring fee to be determined by
                              the board or oversight committee installed to
                              oversee the implementation of any Monetization
                              Vehicle Plan based on the CEO/CRO (or acting as
                              trustee) based upon performance under the plan
                              after all material distributions under the
                              Monetization Vehicle Plan are made.

               (e) Participation in Employee Benefit Plans: Mr. Seery shall act as
               an independent professional contractor and shall not be an
               employee of the Debtor. Mr. Seery will pay for his own benefits
               DQG ZLOO QRW SDUWLFLSDWH XQGHU WKH 'HEWRU¶V H[LVWing employee
               benefit plans.

               (f) Expenses: Reimbursement of actual and reasonable out-of-
               pocket expenses in connection with the services provided under the
               Agreement. Expenses will be generally consistent with expenses
               incurred to date as a member of the New Board.

               (g) Conflicts and Other Engagements. Mr. Seery is not aware of
               any potential conflicts of interest based on his understanding of the
               various parties involved in WKH 'HEWRU¶V FKDSWHU  FDVH WR GDWH
               Mr. Seery shall not be precluded from representing or working
               with or for any other person or entity in matters not directly related
               to the services being provided to the Debtor under the Agreement.
               Mr. Seery shall not undertake any engagements directly adverse to
               the Debtor during the term of his engagement.




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                   (h) Termination. The Agreement may be terminated at any time by
                   either the Debtor or by Mr. Seery upon two weeks advance written
                   notice given to the other party. The termination of the Agreement
                   VKDOO QRW DIIHFW 0U 6HHU\¶V ULJKW WR UHFHLYH DQG WKH 'HEWRU¶V
                   obligation to pay, any and all Base Compensation and Expenses
                   incurred (even if not billed) prior to the giving of any termination
                   notice; provided however, that (1) if the Agreement is terminated
                   by Mr. Seery, the amount of Base Compensation owed shall be
                   calculated based on the actual number of days worked during the
                   applicable month and Mr. Seery will return any Base
                   Compensation received in excess of such amount, and (2) if the
                   Agreement is terminated by the Debtor, Base Compensation shall
                   be deemed fully earned as of the first day of any month. Bonus
                   Compensation shall be earned by Mr. Seery immediately upon his
                   termination by the Debtor; provided however, Mr. Seery shall not
                   EHHQWLWOHGWR%RQXV&RPSHQVDWLRQLI $ WKH'HEWRU¶VFKDSter 11
                   case is converted to chapter 7 or dismissed; (B) a chapter 11 trustee
                   LV DSSRLQWHG LQ WKH 'HEWRU¶V FKDSWHU  FDVH &  0U 6HHU\ LV
                   terminated by the Debtor for Cause;8 or (D) Mr. Seery resigns prior
                   to confirmation of a plan or court approval of a sale as described in
                   the Fees and Expense/Compensation for Services section of the
                   Agreement.

                   (j) Conditional Requirement to Seek Further Court Approval of
                   Agreement. The Committee may, upon two weeks advance
                   written notice to the Debtor, require the Debtor to file a motion
                   with the Bankruptcy Court on normal notice seeking a continuation
                   of the Agreement and if such motion is not filed, the Agreement
                   will terminate at the expiration of such two week period. If the
                   Debtor files such motion, Mr. Seery will be entitled to the Base
                   Compensation through and including the date on which a final
                   order is entered on such motion by this Court. Notwithstanding
                   anything herein to the contrary, the Committee may not deliver
                   such notice to the Debtor until a date which is more than ninety
                   days following the date this Court enters an order approving the
                   Agreement.

                   (j) Indemnification. the Debtor agrees (i) to indemnify and hold
                   harmOHVV 0U 6HHU\ DQG DQ\ RI KLV DIILOLDWHV WKH ³Indemnified
                   Party´  WR WKH IXOOHVW H[tent lawful, from and against any and all

 8
   For purposes of the AgreemeQW ³&DXVH´ PHDQV DQ\ RI WKH IROORZLQJ JURXQGV IRU WHUPLQDWLRQ RI 0U 6HHU\¶V
 engagement, in each case as reasonably determined by the New Board within 60 days of the New Board becoming
 aware of the existence of the event or circumstance: (A) fraud, embezzlement, or any act of moral turpitude or
 willful misconduct on the part of Mr. Seery; (B) conviction of or the entry of a plea of nolo contendere by Mr. Seery
 for any felony; (C) the willful breach by Mr. Seery of any material term of the Agreement; or (D) the willful failure
 or refusal by Mr. Seery to perform his duties to the Debtor, which, if capable of being cured, is not cured on or
 EHIRUHILIWHHQ  GD\VDIWHU0U6HHU\¶VUHFHLSWRIZULWWHQQRWLFHIURPWKH'HEWRU




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               losses, claims, costs, damages or liabilities (or actions in respect
               thereof), joint or several, arising out of or related to the Agreement,
               0U 6HHU\¶V HQJDJHPHQW XQGHU WKH $JUHHPHQW RU DQ\ DFWLRQV
               taken or omitted to be taken by Mr. Seery or the Debtor in
               connection with the Agreement and (ii) to reimburse the
               Indemnified Party for all expenses (including, without limitation,
               the reasonable fees and expenses of counsel) as they are incurred
               in connection with investigating, preparing, pursuing, defending,
               settling or compromising any action, suit, dispute, inquiry,
               investigation or proceeding, pending or threatened, brought by or
               against any person (including, without limitation, any shareholder
               or derivative action, or any fee dispute), arising out of or relating to
               the Agreement, or such engagement, or actions. However, the
               Debtor shall not be liable under the foregoing indemnity and
               reimbursement agreement for any loss, claim, damage or liability
               which is finally judicially determined by a court of competent
               jurisdiction to have resulted primarily from the willful misconduct
               or gross negligence of the Indemnified Party.

               The Debtor has agreed to extend the indemnification and insurance
               currently covering Mr. SeeU\¶VUROHDVDGLUHFWRUWRIXOO\FRYHU0U
               Seery in his roles as chief executive officer and chief restructuring
               officer. The Debtor is currently working to extend such coverage.

               Mr. Seery is also entitled to any indemnification or other similar
               provisionVXQGHUWKH'HEWRU¶VH[LVWLQJRUIXWXUHLQVXUDQFHSROLFLHV
               including any policy tails obtained (or which may be obtained in
               the future), by the Debtor.


                                         Relief Requested

               20.     By this Motion, the Debtor seeks the entry of the Proposed Order

 authorizing the Debtor to retain Mr. Seery pursuant to the terms of the Agreement, nunc pro tunc

 to March 15, 2020. The Motion also seeks to amend the Foreign Representative Order to appoint

 0U6HHU\DVWKH'HEWRU¶V)RUHLJQ5HSUHVHQWDWLYH%HUPXGD)RUHLJQ5HSUHVHQWDWLYHDQGCayman

 Foreign Representative in the stead of Mr. Sharp.

               21.     7KH'HEWRUEHOLHYHVWKDWWKH'HEWRU¶VUHWHQWLRQRIDFKLHIH[HFXWLYHRIILFHU

 and chief restructuring officer constitutes an act in the ordinary course of business, and




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 consequently, is permissible under Bankruptcy Code section 363(c) without Court approval.

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 Agreement under Bankruptcy Code section 363(b).

                                               Basis For Relief

  B.      7KH 'HEWRU¶V (QWU\ ,QWR WKH $JUHHPHQW LV D 9DOLG ([HUFLVH RI WKH 'HEWRU¶V %XVLQHVV
          Judgment and the Proposed Compensation is Appropriate Under the Circumstances and
          Within the Range of Similar Market Transactions

                 22.      ThH &RPSHQVDWLRQ &RPPLWWHH¶V GHFLVLRQ IRU WKH 'HEWRU WR UHWDLQ 0U

 Seery pursuant to the terms of the Agreement should be approved pursuant to sections 363(b)

 and 105(a) of the Bankruptcy Code. Section 363(b)(1) of the Bankruptcy Code provides, in

 relevant pDUW³>W@KHWUXVWHHDIWHUQRWLFHDQGDKHDULQJPD\XVHVHOORUOHDVHRWKHUWKDQ in the

 RUGLQDU\FRXUVHRIEXVLQHVVSURSHUW\RIWKHHVWDWH´86& E  ,QDGGLWLRQVHFWLRQ

  D  RI WKH %DQNUXSWF\ &RGH SURYLGHV WKDW WKH &RXUW ³PD\ LVVXH Dny order, process, or

 judgment that is necessary or appropriate to carry out the provLVLRQVRI>WKH%DQNUXSWF\&RGH@´

 11 U.S.C. § 105(a).

                 23.      The proposed use, sale, or lease of property of the estate may be approved

 under Bankruptcy Code section 363(b) if it is supported by sound business justification. See In

 re Montgomery Ward, 242 B.R.  ''HO  ³,QGHWHUPLQLQJZKHWKHUWRDXWKRUL]H

 the use, sale or lease of property of the estate under this section, courts require the debtor to show

 that a VRXQGEXVLQHVVSXUSRVHMXVWLILHVVXFKDFWLRQV´ $OWKRXJKHVWDEOLVKHGLQWKHFRQWH[t of a

 SURSRVHG VDOH WKH ³EXVLQHVV MXGJPHQW´ VWDQGDUG KDV EHHQ DSSOLHG LQ QRQ-sale situations. See,

 HJ ,QVW &UHGLWRUV RI &RQW¶O $LU /LQHV Y &RQW¶O $LU /LQHV ,Q UH &RQW¶O $LU /LQHV , 780 F.2d

  WK&LU  DSSO\LQJWKH³EXVLQHVV MXGJPHQW´VWDQGDUGLQFRQWH[WRISURSRVHG




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 powers to fashion any order or decree which is in the interest of preserving or protecting the

 YDOXHRIDGHEWRU¶VDVVHWV 11 U.S.C. § 105(a).

                  24.      It is well established that courts are unwilling to interfere with corporate

 decisions absent a showing of bad faith, self-interest, or gross negligence, and will uphold a

 ERDUG¶V GHFLVLRQV DV ORQJ DV WKH\ DUH DWWULEXWDEOH WR ³DQ\ UDWLRQDO EXVLQHVV SXUSRVH´  Unocal

 Corp. v. Mesa Petroleum Co., 493 A.2d 946, 954 (Del. 1985) (citing Sinclair Oil Corp. v.

 Levien, 280 A.2d 717, 720 (Del. 1971)). Whether or not there are sufficient business reasons to

 justify the use of assets of the estate depends upon the facts and circumstances of each case. See

 Comm. of Equity Sec. Holders v. Lionel Corp. (In re Lionel Corp.), 722 F.2d 1063, 1071 (2d Cir.

 1983). In tKLVFDVHWKH'HEWRUKDVDPSOHMXVWLILFDWLRQWRUHWDLQ0U6HHU\DVWKH'HEWRU¶VFKLHf

 executive officer and chief restructuring officer pursuant to the Agreement. The Final Term

 Sheet expressly contemplated that the New Board could appoint a chief executive officer and

 that the chief executive officer could also be one of the Independent Directors. Because Mr.

 Seery will also be serving as chief restructuring officer, it is not necessary to have two separate

 ranking chief restructuring officers, especially considering that Mr. Sharp (the current chief

 restructuring officer) and his firm has agreed to continue to provide financial advisory services

 on behalf of the Debtor.9 Mr. Seery is well- TXDOLILHGWRVHUYHDVWKH'HEWRU¶VFKLHIH[HFXWLYH

 officer and chief restructuring officer.




 9
   See Amended Motion of the Debtor Pursuant to 11 U.S.C. §§ 105(a) and 363(b) to Employ and Retain
 Development Specialists, Inc. to Provide Financial Advisory and Restructuring-Related Services, Nunc Pro Tunc, to
 March 15, 2020 filed concurrently herewith




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                25.     The Compensation Committee negotiated the Agreement in good faith and

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 consultant, Mercer (US) Inc., to determine the appropriate compensation for Mr. Seery as chief

 executive officer and chief restructuring officer.     The Compensation Committee, therefore,

 believes that the terms of the Agreement are reasonable, are consistent with the market within the

 'HEWRU¶V LQGXVWU\ DQG DUH HQWLUHO\ DSSURSULDWH JLYHQ WKH VFRSH RI 0U 6HHU\¶V GXWLHV

 Accordingly, entry into the AgreemeQWLVDVRXQGH[HUFLVHRIWKH'HEWRU¶VEXVLQHVVMXGJPHQW

                26.     Finally, the Debtor requests that the Court apply the same criteria by

 which parties in interest must first petition the Court prior to asserting claims against the

 Independent Director approved in the Settlement Order be extended to Mr. Seery in his capacity

 as chief executive officer and chief restructuring officer contemplated by this Motion. See

 Settlement Order, ¶ 10. The rationale for the Court to first determine whether or not a colorable

 claim or cause of action can be maintained against the Mr. Seery, as one of the Independent

 Directors, is equally applicable to Mr. Seery in his capacity as chief executive officer and chief

 restructuring officer, will further aid in the implementation of the Settlement Order, and

 discourage frivolous litigation.    As was true in the Settlement Order with respect to the

 Independent Directors, no parties will be prejudiced by having to first apply to this Court to

 determine the propriety of any hypothetical claim that may be asserted against Mr. Seery in his

 officer capacities of the Debtor.

  C.     The Debtor Has Satisfied Bankruptcy Code Section 503(c)(3)

                27.     Bankruptcy Code section 50 F  SURYLGHVWKDW³WUDQVIHUVRUREOLJDWLRQV

 that are outside the ordinary course of business . . . including transfers made to . . . consultants




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 facts DQGFLUFXPVWDQFHVRIWKHFDVH´86& F  &RXUWVJHQHUDOO\XVHDIRUPof the

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 Corp., 401 B.R. 229, 236-37 (Bankr. N.D. Tex. 2009) (citing In re Dura Auto Sys., Inc., Case

 No. 06-11202 (Bankr. D. Del. June 29, 2007) and In re Supplements LT, Inc., Case No. 08-10446

 (KJC) (Bankr. D. Del. Apr. 14, 2008)). Specifically, the court examines first, whether the

 WUDQVDFWLRQ PHHWV WKH 'HEWRU¶V EXVLQHVV MXGJPHQW Vtandard, and second, whether the facts and

 circumstances justify the transaction. SeH,QUH3LOJULP¶V3ULGH&RUS, 401 B.R. at 237 (Bankr.

 N.D. Tex. 2009).

                28.     The Debtor submits that the proposed transaction is within the ordinary

 course of its business and thus that Bankruptcy Code section 503(c)(3) does not apply to the

 Agreement.     Nevertheless, for the reasons stated above ² WKH EHQHILWV IURP 0U 6HHU\¶V

 leadership skills and industry experience ² even if this were outside the ordinary course of

 business, HQWU\LQWRWKH$JUHHPHQWLVZHOOZLWKLQWKH'HEWRU¶VEXVLQHVVMXGJPHQWDVDSSOLHGWR

 the facts and circumstances of the Debtor. Further, the facts and circumstances of this case

 support entry into the relationship under the Agreement where the Debtor will benefit from the

 ability to retain Mr. Seery at a critical juncture to ongoing restructuring efforts.

                29.     For the reasons set forth above, the Debtor submits that the relief

 requested herein is in the best interest of the Debtor, its estate, creditors, stakeholders, and other

 parties in interest, and therefore, should be granted.




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 D.     The Proposed Chief Executive Officer and Chief                         Restructuring    Officer
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                30.     Bankruptcy Code section 1505 provides that:

                A trustee or another entity (including an examiner) may be
                authorized by the court to act in a foreign country on behalf of an
                estate created under section 541. An entity authorized to act under
                this section may act in any way permitted by the applicable foreign
                law.

 11 U.S.C. § 1505.

                31.     The Debtor respectfully submits that Mr. Seery is qualified and capable of

 UHSUHVHQWLQJ WKH 'HEWRU¶V HVWDWH DV WKH )RUHLJQ 5HSUHVHQWDWLYH  7KH 'HEWRU EHOLHYHV LW LV

 appropriate for Mr. Seery, as an officer of the Debtor, to replace Mr. Sharp as Foreign

 Representative inasmuch as Mr. Sharp will no longer be an officer of the Debtor if the Motion is

 granted. In order to avoid any possible confusion or doubt regarding this authority and to

 comply with the requirements of Part XVII of the Cayman Law, the Debtor seeks entry of an

 order, pursuant to section 1505 of the Bankruptcy Code, explicitly substituting Mr. Seery in the

 SODFHRI0U6KDUSDVWKH'HEWRU¶V)RUHLJQ5HSUHVHQWDWLYHLQFOXGLQJVSHFLILFDOO\WRVHUYHDVWKH

 Bermuda Foreign Representative and Cayman Foreign Representative.

                32.     For the reasons set forth in the Foreign Representative Motion, authorizing

 0U6HHU\WRDFWDVWKH)RUHLJQ5HSUHVHQWDWLYHRQEHKDOIRIWKH'HEWRU¶VHVWDWHLQ%HUPXGDWKH

 Cayman Islands or any other foreign proceeding will allow coordination of this chapter 11 case

 and each of the foreign proceedings and provide an effective mechanism to protect and maximize

 WKHYDOXHRIWKH'HEWRU¶VDVVHWVDQGHVWDWH&RXUWVKDYHURXWLQHO\JUDQWHGUHOLHIVLPLODUWRWKDW

 requested herein in other large chapter 11 cases where a debtor has foreign assets or operations

 requiring a recognition proceeding. See, e.g., In re CJ Holding Co., No. 16-33590 (Bankr. S.D.




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 Tex. July 21, 2016); ECF No. 59; In re CHC Group Ltd., No. 16-31854 (Bankr. N.D. Tex. Sept.

 20, 2016), ECF No. 884; In re Ultra Petroleum Corp., No. 16-32202 (Bankr. S.D. Tex. May 3,

 2016); In re Digital Domain Media Grp., Inc., No. 12-12568 (BLS) (Bankr. D. Del. Sept. 12,

 2012); ECF No. 82; In re Probe Resources US Ltd., No. 10-40395 (Bankr. S.D. Tex. Mar. 21,

 2011); ECF N. 320; In re Bigler LP, No. 09-38188 (Bankr. S.D. Tex. Jan. 12, 2010), ECF No.

 159; In re Horsehead Holdings Corp., No. 16-10287 (CSS) (Bankr. D. Del. Feb. 4, 2016); In re

 Colt Holding Co. LLC, No. 15-11296 (LSS) (Bankr. D. Del. June 16, 2015).                                 The Debtor

 believes it is appropriate for one of its officers to serve as the Foreign Representative. In several

 jurisdictions, an officer or someone acting in a similar capacity is a prerequisite to serve as a

 Foreign Representative.10 As more fully explained in the Foreign Representative Motion, the

 Debtor has assets in jurisdictions other than the United States, including in Bermuda and the

 Cayman Islands. To the extent any disputes with respect to such assets arise, it is critical that the

 Foreign Representative be permitted to appear on behalf of the Debtor and it estate in any court

 in which a foreign proceeding may be pending.

                                                         Notice

                   33.      Notice of this Motion shall be given to the following parties or, in lieu

 thereof, to their counsel, if known: (a)the Office of the United States Trustee; (b)the Office of the

 United States Attorney for the Northern District of Texas; (c)WKH 'HEWRU¶V SULQFLSDO VHFXUHG



 10
   See e.g. Part XVII, Section 240o f the Companies Law (2018 Revision) of the Cayman Islands requiring that the
 IRUHLJQUHSUHVHQWDWLYHEH³DWUXVWHHOLTXLGDWRURURWKHU official in respect of a debtor for the purposes of a foreign
 EDQNUXSWF\SURFHHGLQJ´,QDGGLWLRQDQGDVPRUHIXOO\H[plained in the Foreign Representative Motion, Bermuda
 common law and conflict of laws principles will recognize the authority of a foreign insolvency officeholder
 appointed in proceedings in the jurisdiction of incorporation of a company (or, in the instant case, the jurisdiction of
 the establishment of a limited partnership) to act on behalf of and in the name of the company (or partnership) in
 Bermuda.




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 parties; (d)counsel to the Committee; and (e)parties requesting notice pursuant to Bankruptcy

 Rule 2002. The Debtor submits that, in light of the nature of the relief requested, no other or

 further notice need be given.

                                             Conclusion

                WHEREFORE, the Debtor respectfully requests that the Court enter an order,

 substantially in the form annexed hereto as Exhibit A, granting the relief requested in the Motion

 and such other and further relief as may be just and proper.




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 Dated: June 23, 2020                 PACHULSKI STANG ZIEHL & JONES LLP
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                                       EXHIBIT A

                                     Proposed Order




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                                UNITED STATES BANKRUPTCY COURT
                                  NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION
      In re:                       §
                                   §
      HIGHLAND CAPITAL MANAGEMENT, §                                  Case No. 19-34054
      L.P.,                        §                                  Chapter 11
                                   §
      Debtor.                      §                                   Re: Docket No. ______
                                   §

                   25'(5$33529,1*'(%725¶6027,2181'(5
                   BANKRUPTCY CODE SECTIONS 105(a) AND 363(b)
                AUTHORIZING RETENTION OF JAMES P. SEERY, JR., AS
          CHIEF EXECUTIVE OFFICER, CHIEF RESTRUCTURING OFFICER, AND
           FOREIGN REPRESENTATIVE NUNC PRO TUNC TO MARCH 15, 2020

                    Upon the 'HEWRU¶V 0RWLRQ 8QGHU %DQNUXSWF\ &RGH 6HFWLRQV  D  DQG  E 

 for Authorization to Retain James P. Seery, Jr., as Chief Executive Officer, Chief Restructuring

 Officer and Foreign Representative Nunc Pro Tunc To March 15, 2020 WKH³0RWLRQ´ 1 and the

 Court finding that: (i) this Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

 1
     All terms not otherwise defined herein shall be given the meanings ascribed to them in the Motion.


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 and 1334; (ii) venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409; (iii) this is a core

 proceeding pursuant to 28 U.S.C. § 157(b)(2); (iv) due and sufficient notice of the Motion has

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 judgment; and (vi) it appearing that the relief requested in the Motion is necessary and in the best

 LQWHUHVWVRIWKH'HEWRU¶VHVWDWHDnd creditors; and good and sufficient cause appearing therefor, it

 is hereby

                    ORDERED, ADJUDGED, AND DECREED that:

                   1.          The Motion is granted.

                   2.          Pursuant to sections 363(b) and 105(a) of the Bankruptcy Code, the

 Agreement attached hereto as Exhibit 1 and all terms and conditions thereof are approved, nunc

 pro tunc to March 15, 2020.

                   3.          The Debtor is hereby authorized to enter into and perform under the

 Agreement.

                   4.          The Debtor is authorized to indemnify Mr. Seery pursuant to the terms of

 the Agreement. Mr. Seery is also entitled to any indemnification or other similar provisions

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 which may be obtained in the future), by the Debtor. The Debtor and Strand are authorized to

 enter into any agreements necessary to execute or implement the transactions described in this

 paragraph. For avoidance of doubt and notwithstanding anything to the contrary in this Order,

 Mr. Seery shall be entitled to any state law indemnity protections to which he may be entitled

 under applicable law.




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                   5.          No entity may commence or pursue a claim or cause of action of any kind

 against Mr. Seery relating in any way to his role as the chief executive officer and chief

 restructuring officer of the Debtor without the Bankruptcy Court (i) first determining after notice

 that such claim or cause of action represents a colorable claim of willful misconduct or gross

 negligence against Mr. Seery, and (ii) specifically authorizing such entity to bring such claim.

 The Bankruptcy Court shall have sole jurisdiction to adjudicate any such claim for which

 approval of the Court to commence or pursue has been granted.

                   6.          Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of

 this Order shall be immediately effective and enforceable upon its entry.

                   7.          This Court shall retain jurisdiction over any and all matters arising from or

 related to the interpretation and/or implementation of this Order.

                   8.          The Foreign Representative Order is hereby amended to substitute James

 P. Seery, -UDVWKHFKLHIH[HFXWLYHRIILFHULQSODFHRI%UDGOH\66KDUSDVWKH'HEWRU¶V)RUHLJQ

 Representative, Bermuda Foreign Representative and Cayman Foreign Representative. All other

 provisions of the Foreign Representative Order shall remain in full force and effect.



                                          # # # END OF ORDER # # #




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                                      EXHIBIT A-1

                                 Engagement Agreement




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The following constitutes the ruling of the court and has the force and effect therein described.




 Signed July 16, 2020
______________________________________________________________________




                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                          DALLAS DIVISION
                                       §
          In re:                       §
                                       §                                  Case No. 19-34054
          HIGHLAND CAPITAL MANAGEMENT, §                                  Chapter 11
          L.P.,                        §
                                       §                                   Re: Docket No. 774
          Debtor.                      §


                       ORDER APPROVING DEBTOR’S MOTION UNDER
                       BANKRUPTCY CODE SECTIONS 105(a) AND 363(b)
                    AUTHORIZING RETENTION OF JAMES P. SEERY, JR., AS
              CHIEF EXECUTIVE OFFICER, CHIEF RESTRUCTURING OFFICER, AND
               FOREIGN REPRESENTATIVE NUNC PRO TUNC TO MARCH 15, 2020

               Upon the Debtor’s Motion under Bankruptcy Code Sections 105(a) and 363(b) for

     Authorization to Retain James P. Seery, Jr., as Chief Executive Officer, Chief Restructuring

     Officer and Foreign Representative Nunc Pro Tunc To March 15, 2020 (the “Motion”), 1 and the



     1
         All terms not otherwise defined herein shall be given the meanings ascribed to them in the Motion.


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Court finding that: (i) this Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

and 1334; (ii) venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409; (iii) this is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2); (iv) due and sufficient notice of the Motion has

been given; (v) entry into the Agreement was an exercise of the Debtor’s sound business

judgment; and (vi) it appearing that the relief requested in the Motion is necessary and in the best

interests of the Debtor’s estate and creditors; and good and sufficient cause appearing therefor, it

is hereby

         ORDERED, ADJUDGED, and DECREED that:

         1.       The Motion is GRANTED.

         2.       Pursuant to sections 363(b) and 105(a) of the Bankruptcy Code, the Agreement

attached hereto as Exhibit 1 and all terms and conditions thereof are approved, nunc pro tunc to

March 15, 2020.

         3.       The Debtor is hereby authorized to enter into and perform under the Agreement.

         4.       The Debtor is authorized to indemnify Mr. Seery pursuant to the terms of the

Agreement. Mr. Seery is also entitled to any indemnification or other similar provisions under

the Debtor’s existing or future insurance policies, including any policy tails obtained (or which

may be obtained in the future), by the Debtor. The Debtor and Strand are authorized to enter into

any agreements necessary to execute or implement the transactions described in this paragraph.

For avoidance of doubt and notwithstanding anything to the contrary in this Order, Mr. Seery

shall be entitled to any state law indemnity protections to which he may be entitled under

applicable law.




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         5.       No entity may commence or pursue a claim or cause of action of any kind against

Mr. Seery relating in any way to his role as the chief executive officer and chief restructuring

officer of the Debtor without the Bankruptcy Court (i) first determining after notice that such

claim or cause of action represents a colorable claim of willful misconduct or gross negligence

against Mr. Seery, and (ii) specifically authorizing such entity to bring such claim. The

Bankruptcy Court shall have sole jurisdiction to adjudicate any such claim for which approval of

the Court to commence or pursue has been granted.

         6.       Notwithstanding anything in the Motion, the Agreement or the Order to the

contrary, the Agreement shall be deemed terminated upon the effective date of a confirmed plan

of reorganization unless such plan provides otherwise.

         7.       Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

shall be immediately effective and enforceable upon its entry.

         8.       This Court shall retain jurisdiction over any and all matters arising from or related

to the interpretation and/or implementation of this Order.

         9.       The Foreign Representative Order is hereby amended to substitute James P.

Seery, Jr., as the chief executive officer, in place of Bradley S. Sharp, as the Debtor’s Foreign

Representative, Bermuda Foreign Representative and Cayman Foreign Representative. All other

provisions of the Foreign Representative Order shall remain in full force and effect.

                                       ###END OF ORDER###




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                               Engagement Agreement




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 DQGQRRWKHUSHUVRQVKDOODFTXLUHRUKDYHDQ\ULJKWXQGHURUE\YLUWXHRIWKLV$JUHHPHQW

 )DLOXUHRIDQ\SDUW\DWDQ\WLPHWRUHTXLUHSHUIRUPDQFHRIDQ\SURYLVLRQRIWKLV$JUHHPHQWVKDOO
 QRWDIIHFWWKHULJKWWRUHTXLUHIXOOSHUIRUPDQFHWKHUHRIDWDQ\WLPHWKHUHDIWHUDQGWKHZDLYHUE\
 DQ\ SDUW\ RI D EUHDFK RI VXFK SURYLVLRQV VKDOO QRW EH WDNHQ DV RU KHOG WR EH D ZDLYHU RI DQ\
 VXEVHTXHQWEUHDFKRUDVQXOOLI\LQJWKHHIIHFWLYHQHVVRIVXFKSURYLVLRQ

 1RWLFHVSURYLGHGIRULQWKLV$JUHHPHQWVKDOOEHLQZULWLQJDQGVKDOOEHGHHPHGWRKDYHEHHQGXO\
 JLYHQ ZKHQ GHOLYHUHG E\ KDQG RU RYHUQLJKW FRXULHU RU WKUHH GD\V DIWHU LW KDV EHHQ PDLOHG E\
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The following constitutes the ruling of the court and has the force and effect therein described.



 Signed January 9, 2020
______________________________________________________________________




                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

                                                                        §
         In re:                                                         § Chapter 11
                                                                        §
         HIGHLAND CAPITAL MANAGEMENT, L.P.,1                            § Case No. 19-34054-sgj11
                                                                        §
                                          Debtor.                       § Related to Docket Nos. 7 & 259

              ORDER APPROVING SETTLEMENT WITH OFFICIAL COMMITTEE OF
             UNSECURED CREDITORS REGARDING GOVERNANCE OF THE DEBTOR
               AND PROCEDURES FOR OPERATIONS IN THE ORDINARY COURSE

                       Upon the Motion of the Debtor to Approve Settlement with Official Committee of

     Unsecured Creditors Regarding Governance of the Debtor and Procedures for Operations in the

     Ordinary Course (the “Motion”),2 filed by the above-captioned debtor and debtor in possession



     1
       The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
     for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
     2
       Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.


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 (the “Debtor”); the Court having reviewed the Motion, and finding that (a) the Court has

 jurisdiction over this matter pursuant to 28 U.S.C. §§157 and 1334, (b) this is a core proceeding

 pursuant to 28 U.S.C. §157(b)(2)(A), and (c) notice of this Motion having been sufficient under

 the circumstances and no other or further notice is required; and having determined that the legal

 and factual bases set forth in the Motion establish just cause for the relief granted herein; and

 having determined that the relief sought in the Motion is in the best interests of the Debtor and its

 estate; and after due deliberation and sufficient cause appearing therefore,

                  IT IS HEREBY ORDERED THAT:

                  1.          The Motion is GRANTED on the terms and conditions set forth herein, and

 the United States Trustee’s objection to the Motion is OVERRULED.

                  2.          The Term Sheet is approved and the Debtor is authorized to take such steps

 as may be necessary to effectuate the settlement contained in the Term Sheet, including, but not

 limited to: (i) implementing the Document Production Protocol; and (ii) implementing the

 Protocols.

                  3.          The Debtor is authorized (A) to compensate the Independent Directors for

 their services by paying each Independent Director a monthly retainer of (i) $60,000 for each of

 the first three months, (ii) $50,000 for each of the next three months, and (iii) $30,000 for each of

 the following six months, provided that the parties will re-visit the director compensation after the

 sixth month and (B) to reimburse each Independent Director for all reasonable travel or other

 expenses, including expenses of counsel, incurred by such Independent Director in connection

 with its service as an Independent Director in accordance with the Debtor’s expense

 reimbursement policy as in effect from time to time.

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                  4.          The Debtor is authorized to guarantee Strand’s obligations to indemnify

 each Independent Director pursuant to the terms of the Indemnification Agreements entered into

 by Strand with each Independent Director on the date hereof.

                  5.          The Debtor is authorized to purchase an insurance policy to cover the

 Independent Directors.

                  6.          All of the rights and obligations of the Debtor referred to in paragraphs 3

 and 4 hereof shall be afforded administrative expense priority under 11 U.S.C. § 503(b).

                  7.          Subject to the Protocols and the Term Sheet, the Debtor is authorized to

 continue operations in the ordinary course of its business.

                  8.          Pursuant to the Term Sheet, Mr. James Dondero will remain as an employee

 of the Debtor, including maintaining his title as portfolio manager for all funds and investment

 vehicles for which he currently holds that title; provided, however, that Mr. Dondero’s

 responsibilities in such capacities shall in all cases be as determined by the Independent Directors

 and Mr. Dondero shall receive no compensation for serving in such capacities. Mr. Dondero’s

 role as an employee of the Debtor will be subject at all times to the supervision, direction and

 authority of the Independent Directors. In the event the Independent Directors determine for any

 reason that the Debtor shall no longer retain Mr. Dondero as an employee, Mr. Dondero shall

 resign immediately upon such determination.

                  9.          Mr. Dondero shall not cause any Related Entity to terminate any agreements

 with the Debtor.

                  10.         No entity may commence or pursue a claim or cause of action of any kind

 against any Independent Director, any Independent Director’s agents, or any Independent

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 Director’s advisors relating in any way to the Independent Director’s role as an independent

 director of Strand without the Court (i) first determining after notice that such claim or cause of

 action represents a colorable claim of willful misconduct or gross negligence against Independent

 Director, any Independent Director’s agents, or any Independent Director’s advisors and (ii)

 specifically authorizing such entity to bring such claim. The Court will have sole jurisdiction to

 adjudicate any such claim for which approval of the Court to commence or pursue has been

 granted.

                  11.         Nothing in the Protocols, the Term Sheet or this Order shall affect or impair

 Jefferies LLC’s rights under its Prime Brokerage Customer Agreements with the Debtor and non-

 debtor Highland Select Equity Master Fund, L.P., or any of their affiliates, including, but not

 limited to, Jefferies LLC’s rights of termination, liquidation and netting in accordance with the

 terms of the Prime Brokerage Customer Agreements or, to the extent applicable, under the

 Bankruptcy Code’s “safe harbor” protections, including under sections 555 and 561 of the

 Bankruptcy Code. The Debtor shall not conduct any transactions or cause any transactions to be

 conducted in or relating to the Jefferies LLC accounts without the express consent and cooperation

 of Jefferies LLC or, in the event that Jefferies withholds consent, as otherwise ordered by the

 Court. For the avoidance of doubt, Jefferies LLC shall not be deemed to have waived any rights

 under the Prime Brokerage Customer Agreements or, to the extent applicable, the Bankruptcy

 Code’s “safe harbor” protections, including under sections 555 and 561 of the Bankruptcy Code,

 and shall be entitled to take all actions authorized therein without further order of the Court

                  12.         Notwithstanding any stay under applicable Bankruptcy Rules, this Order

 shall be effective immediately upon entry.

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                  13.         The Court shall retain jurisdiction over all matters arising from or related to

 the interpretation and implementation of this Order, including matters related to the Committee’s

 approval rights over the appointment and removal of the Independent Directors.

                                            ## END OF ORDER ##




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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS

  CHARITABLE DAF FUND, L.P.          §
  and CLO HOLDCO, LTD.,              §
  directly and derivatively,         §
                                     §
                Plaintiffs,          §
                                     §
                    v.               §              Cause No. 3:21-CV-00842-B
                                     §
  HIGHLAND CAPITAL MANAGEMENT, §
  L.P. , HIGHLAND HCF ADVISOR, LTD., §
  JAMES P. SEERY, individually, and  §
  HIGHLAND CLO FUNDING, LTD.,        §
  nominally,                         §
                                     §
               Defendants.           §


                                           ORDER

        The Court, having considered Plaintiffs’ Motion for Leave to File First Amended

 Complaint, finds that the Motion should be GRANTED.

        IT IS THEREFORE ORDERED that Plaintiff’s First Amended Complaint is hereby

 deemed filed.

        SO ORDERED.

        Dated this ____ day of ___________, 2021.



                                                    ________________________________
                                                    UNITED STATES DISTRICT JUDGE




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                              APPENDIX 19




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The following constitutes the ruling of the court and has the force and effect therein described.



 Signed January 9, 2020
______________________________________________________________________




                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

                                                                        §
         In re:                                                         § Chapter 11
                                                                        §
         HIGHLAND CAPITAL MANAGEMENT, L.P.,1                            § Case No. 19-34054-sgj11
                                                                        §
                                          Debtor.                       § Related to Docket Nos. 7 & 259

              ORDER APPROVING SETTLEMENT WITH OFFICIAL COMMITTEE OF
             UNSECURED CREDITORS REGARDING GOVERNANCE OF THE DEBTOR
               AND PROCEDURES FOR OPERATIONS IN THE ORDINARY COURSE

                       Upon the Motion of the Debtor to Approve Settlement with Official Committee of

     Unsecured Creditors Regarding Governance of the Debtor and Procedures for Operations in the

     Ordinary Course (the “Motion”),2 filed by the above-captioned debtor and debtor in possession



     1
       The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
     for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
     2
       Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.


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 (the “Debtor”); the Court having reviewed the Motion, and finding that (a) the Court has

 jurisdiction over this matter pursuant to 28 U.S.C. §§157 and 1334, (b) this is a core proceeding

 pursuant to 28 U.S.C. §157(b)(2)(A), and (c) notice of this Motion having been sufficient under

 the circumstances and no other or further notice is required; and having determined that the legal

 and factual bases set forth in the Motion establish just cause for the relief granted herein; and

 having determined that the relief sought in the Motion is in the best interests of the Debtor and its

 estate; and after due deliberation and sufficient cause appearing therefore,

                  IT IS HEREBY ORDERED THAT:

                  1.          The Motion is GRANTED on the terms and conditions set forth herein, and

 the United States Trustee’s objection to the Motion is OVERRULED.

                  2.          The Term Sheet is approved and the Debtor is authorized to take such steps

 as may be necessary to effectuate the settlement contained in the Term Sheet, including, but not

 limited to: (i) implementing the Document Production Protocol; and (ii) implementing the

 Protocols.

                  3.          The Debtor is authorized (A) to compensate the Independent Directors for

 their services by paying each Independent Director a monthly retainer of (i) $60,000 for each of

 the first three months, (ii) $50,000 for each of the next three months, and (iii) $30,000 for each of

 the following six months, provided that the parties will re-visit the director compensation after the

 sixth month and (B) to reimburse each Independent Director for all reasonable travel or other

 expenses, including expenses of counsel, incurred by such Independent Director in connection

 with its service as an Independent Director in accordance with the Debtor’s expense

 reimbursement policy as in effect from time to time.

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                  4.          The Debtor is authorized to guarantee Strand’s obligations to indemnify

 each Independent Director pursuant to the terms of the Indemnification Agreements entered into

 by Strand with each Independent Director on the date hereof.

                  5.          The Debtor is authorized to purchase an insurance policy to cover the

 Independent Directors.

                  6.          All of the rights and obligations of the Debtor referred to in paragraphs 3

 and 4 hereof shall be afforded administrative expense priority under 11 U.S.C. § 503(b).

                  7.          Subject to the Protocols and the Term Sheet, the Debtor is authorized to

 continue operations in the ordinary course of its business.

                  8.          Pursuant to the Term Sheet, Mr. James Dondero will remain as an employee

 of the Debtor, including maintaining his title as portfolio manager for all funds and investment

 vehicles for which he currently holds that title; provided, however, that Mr. Dondero’s

 responsibilities in such capacities shall in all cases be as determined by the Independent Directors

 and Mr. Dondero shall receive no compensation for serving in such capacities. Mr. Dondero’s

 role as an employee of the Debtor will be subject at all times to the supervision, direction and

 authority of the Independent Directors. In the event the Independent Directors determine for any

 reason that the Debtor shall no longer retain Mr. Dondero as an employee, Mr. Dondero shall

 resign immediately upon such determination.

                  9.          Mr. Dondero shall not cause any Related Entity to terminate any agreements

 with the Debtor.

                  10.         No entity may commence or pursue a claim or cause of action of any kind

 against any Independent Director, any Independent Director’s agents, or any Independent

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 Director’s advisors relating in any way to the Independent Director’s role as an independent

 director of Strand without the Court (i) first determining after notice that such claim or cause of

 action represents a colorable claim of willful misconduct or gross negligence against Independent

 Director, any Independent Director’s agents, or any Independent Director’s advisors and (ii)

 specifically authorizing such entity to bring such claim. The Court will have sole jurisdiction to

 adjudicate any such claim for which approval of the Court to commence or pursue has been

 granted.

                  11.         Nothing in the Protocols, the Term Sheet or this Order shall affect or impair

 Jefferies LLC’s rights under its Prime Brokerage Customer Agreements with the Debtor and non-

 debtor Highland Select Equity Master Fund, L.P., or any of their affiliates, including, but not

 limited to, Jefferies LLC’s rights of termination, liquidation and netting in accordance with the

 terms of the Prime Brokerage Customer Agreements or, to the extent applicable, under the

 Bankruptcy Code’s “safe harbor” protections, including under sections 555 and 561 of the

 Bankruptcy Code. The Debtor shall not conduct any transactions or cause any transactions to be

 conducted in or relating to the Jefferies LLC accounts without the express consent and cooperation

 of Jefferies LLC or, in the event that Jefferies withholds consent, as otherwise ordered by the

 Court. For the avoidance of doubt, Jefferies LLC shall not be deemed to have waived any rights

 under the Prime Brokerage Customer Agreements or, to the extent applicable, the Bankruptcy

 Code’s “safe harbor” protections, including under sections 555 and 561 of the Bankruptcy Code,

 and shall be entitled to take all actions authorized therein without further order of the Court

                  12.         Notwithstanding any stay under applicable Bankruptcy Rules, this Order

 shall be effective immediately upon entry.

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                  13.         The Court shall retain jurisdiction over all matters arising from or related to

 the interpretation and implementation of this Order, including matters related to the Committee’s

 approval rights over the appointment and removal of the Independent Directors.

                                            ## END OF ORDER ##




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                             APPENDIX 20




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The following constitutes the ruling of the court and has the force and effect therein described.




 Signed July 16, 2020
______________________________________________________________________




                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                          DALLAS DIVISION
                                       §
          In re:                       §
                                       §                                  Case No. 19-34054
          HIGHLAND CAPITAL MANAGEMENT, §                                  Chapter 11
          L.P.,                        §
                                       §                                   Re: Docket No. 774
          Debtor.                      §


                       ORDER APPROVING DEBTOR’S MOTION UNDER
                       BANKRUPTCY CODE SECTIONS 105(a) AND 363(b)
                    AUTHORIZING RETENTION OF JAMES P. SEERY, JR., AS
              CHIEF EXECUTIVE OFFICER, CHIEF RESTRUCTURING OFFICER, AND
               FOREIGN REPRESENTATIVE NUNC PRO TUNC TO MARCH 15, 2020

               Upon the Debtor’s Motion under Bankruptcy Code Sections 105(a) and 363(b) for

     Authorization to Retain James P. Seery, Jr., as Chief Executive Officer, Chief Restructuring

     Officer and Foreign Representative Nunc Pro Tunc To March 15, 2020 (the “Motion”), 1 and the



     1
         All terms not otherwise defined herein shall be given the meanings ascribed to them in the Motion.


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 Court finding that: (i) this Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

 and 1334; (ii) venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409; (iii) this is a core

 proceeding pursuant to 28 U.S.C. § 157(b)(2); (iv) due and sufficient notice of the Motion has

 been given; (v) entry into the Agreement was an exercise of the Debtor’s sound business

 judgment; and (vi) it appearing that the relief requested in the Motion is necessary and in the best

 interests of the Debtor’s estate and creditors; and good and sufficient cause appearing therefor, it

 is hereby

          ORDERED, ADJUDGED, and DECREED that:

          1.       The Motion is GRANTED.

          2.       Pursuant to sections 363(b) and 105(a) of the Bankruptcy Code, the Agreement

 attached hereto as Exhibit 1 and all terms and conditions thereof are approved, nunc pro tunc to

 March 15, 2020.

          3.       The Debtor is hereby authorized to enter into and perform under the Agreement.

          4.       The Debtor is authorized to indemnify Mr. Seery pursuant to the terms of the

 Agreement. Mr. Seery is also entitled to any indemnification or other similar provisions under

 the Debtor’s existing or future insurance policies, including any policy tails obtained (or which

 may be obtained in the future), by the Debtor. The Debtor and Strand are authorized to enter into

 any agreements necessary to execute or implement the transactions described in this paragraph.

 For avoidance of doubt and notwithstanding anything to the contrary in this Order, Mr. Seery

 shall be entitled to any state law indemnity protections to which he may be entitled under

 applicable law.




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          5.       No entity may commence or pursue a claim or cause of action of any kind against

 Mr. Seery relating in any way to his role as the chief executive officer and chief restructuring

 officer of the Debtor without the Bankruptcy Court (i) first determining after notice that such

 claim or cause of action represents a colorable claim of willful misconduct or gross negligence

 against Mr. Seery, and (ii) specifically authorizing such entity to bring such claim. The

 Bankruptcy Court shall have sole jurisdiction to adjudicate any such claim for which approval of

 the Court to commence or pursue has been granted.

          6.       Notwithstanding anything in the Motion, the Agreement or the Order to the

 contrary, the Agreement shall be deemed terminated upon the effective date of a confirmed plan

 of reorganization unless such plan provides otherwise.

          7.       Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

 shall be immediately effective and enforceable upon its entry.

          8.       This Court shall retain jurisdiction over any and all matters arising from or related

 to the interpretation and/or implementation of this Order.

          9.       The Foreign Representative Order is hereby amended to substitute James P.

 Seery, Jr., as the chief executive officer, in place of Bradley S. Sharp, as the Debtor’s Foreign

 Representative, Bermuda Foreign Representative and Cayman Foreign Representative. All other

 provisions of the Foreign Representative Order shall remain in full force and effect.

                                        ###END OF ORDER###




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                                      EXHIBIT 1

                                 Engagement Agreement




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 This Agreement shall be binding upon the parties and their respective successors and assigns,
 and no other person shall acquire or have any right under or by virtue of this Agreement.

 Failure of any party at any time to require performance of any provision of this Agreement shall
 not affect the right to require full performance thereof at any time thereafter, and the waiver by
 any party of a breach of such provisions shall not be taken as or held to be a waiver of any
 subsequent breach or as nullifying the effectiveness of such provision.

 Notices provided for in this Agreement shall be in writing and shall be deemed to have been duly
 given when delivered by hand or overnight courier or three days after it has been mailed by
 United States registered mail, return receipt requested, postage prepaid, addressed to the
 respective address set forth above in this Agreement, or to such other address as either party may
 have furnished to the other in writing in accordance herewith.

 This Agreement and my rights and duties hereunder shall not be assignable or delegable by me.

 The Company may withhold from any amounts payable under this Agreement such Federal, state
 and local taxes as may be required to be withheld pursuant to any applicable law or regulation.

 This Agreement may be executed (including by electronic execution) in any number of
 counterparts, each of which when so executed shall be deemed an original, but all such
 counterparts shall constitute one and the same instrument. Delivery of an executed counterpart
 of this Agreement by electronic mail shall have the same force and effect as the delivery of an
 original executed counterpart of this Agreement.

 Please confirm the foregoing is in accordance with your understanding by signing and returning
 a copy of this Agreement, whereupon it shall become binding and enforceable in accordance
 with its terms.

 Very truly yours,


 James. P. Seery, Jr.

 AGREED AND ACCEPTED

 HIGHLAND CAPITAL MANAGEMENT L.P.

 By: Strand Advisors,, IInc.,   ts general partner
                         ncc., its


 _____________________________________
     _____
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 Johnn Dubel
       Dubbeell                                      Russell Nelms
 Director                                            Director
 Strand Advisors, Inc.                               Strand Advisors, Inc.




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                              APPENDIX 2




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    04/20/2021     8 ELECTRONIC ORDER denying 6 Motion for Leave to File without prejudice. To the
                      extent a motion for leave to file an amended complaint is required under Rule 15,
                      Plaintiffs may renew their motion after Defendants are served and have appeared.
                      (Ordered by Judge Jane J. Boyle on 4/20/2021) (chmb) (Entered: 04/20/2021)




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 Counsel for Highland Capital Management, L.P.


                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION
                                                                   §
     In re:
                                                                   § Chapter 11
                                                                   §
     HIGHLAND CAPITAL MANAGEMENT, L.P., 1
                                                                   § Case No. 19-34054-sgj11
                                                                   §
                                      Debtor.
                                                                   §

     DEBTOR’S MOTION FOR AN ORDER REQUIRING THE VIOLATORS TO SHOW
        CAUSE WHY THEY SHOULD NOT BE HELD IN CIVIL CONTEMPT FOR
                      VIOLATING TWO COURT ORDERS

              Highland Capital Management, L.P., the debtor and debtor-in-possession (the “Debtor” or

 “Highland”) in the above-captioned chapter 11 case (“Bankruptcy Case”), by and through its



 1
  The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
 for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.



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 undersigned counsel, files this motion (the “Motion”) seeking entry of an order requiring The

 Charitable DAF Fund, L.P. (“The DAF”), CLO Holdco, Ltd. (“CLO Holdco”), the persons who

 authorized The DAF and CLO Holdco, respectively (together, the “Authorizing Persons”) to file

 the Seery Motion (as defined below) in the DAF Action (as defined below), and Sbaiti & Company

 PLLC (“Sbaiti & Co.” and together with The DAF, CLO Holdco, and the Authorizing Persons,

 the “Violators”), counsel to The DAF and CLO Holdco in the DAF Action, to show cause why

 each of them should not be held in civil contempt for violating the Court’s: (a) Order Approving

 Settlement with Official Committee of Unsecured Creditors Regarding Governance of the Debtor

 and Procedures for Operations in the Ordinary Course [Docket No. 339], and (b) Order

 Approving Debtor’s Motion Under Bankruptcy Code Sections 105(a) and 363(b) Authorizing

 Retention of James P. Seery, Jr., as Chief Executive Officer, Chief Restructuring Officer, and

 Foreign Representative Nunc Pro Tunc to March 15, 2020 [Docket No. 854] (together, the

 “Orders”). In support of its Motion, the Debtor states as follows:

                                       JURISDICTION AND VENUE

         1.       This Court has jurisdiction over the Motion pursuant to 28 U.S.C. §§ 157 and

 1334(b). The Motion is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) and (O).

         2.       Venue is proper in this judicial district pursuant to 28 U.S.C. § 1409.

         3.       The predicates for the relief requested in the Motion are sections 105(a) and

 362(a) of title 11 of the United States Code (the “Bankruptcy Code”) and Rules 7065 and 7001 of

 the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

                                           RELIEF REQUESTED




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         4.       The Debtor requests that this Court issue the proposed form of order attached as

 Exhibit A (the “Proposed Order”), pursuant to sections 105(a) and 362(a) of the Bankruptcy Code

 and Rules 7001 and 7065 of the Bankruptcy Rules.

         5.       For the reasons set forth more fully in the Debtor’s Memorandum of Law in Support

 of Motion for an Order Requiring the Violators to Show Cause Why They Should Not Be Held in

 Civil Contempt for Violating Two Court Orders (the “Memorandum of Law”), filed

 contemporaneously with this Motion, the Debtor requests that the Court: (a) find and hold each of

 the Violators in contempt of court; (b) direct the Violators, jointly and severally, to pay the

 Debtor’s estate an amount of money equal to two (2) times the Debtor’s actual expenses incurred

 in bringing this Motion, payable within three (3) calendar days of presentment of an itemized list

 of expenses; (c) impose a penalty of three (3) times the Debtor’s actual expenses incurred in

 connection with any future violation of any order of this Court (including filing any motion in the

 District Court to name Mr. Seery as a defendant without seeking and obtaining this Court’s prior

 approval, as required under the Orders), and (d) grant the Debtor such other and further relief as

 the Court deems just and proper under the circumstances.

         6.       In accordance with Rule 7007-1 of the Local Bankruptcy Rules of the United States

 Bankruptcy Court for the Northern District of Texas (the “Local Rules”), contemporaneously

 herewith and in support of this Motion, the Debtor is filing: (a) its Memorandum of Law, and (b)

 the Declaration of John A. Morris in Support of the Debtor’s Motion for an Order Requiring the

 Violators to Show Cause Why They Should Not Be Held in Civil Contempt for Violating Two Court

 Orders (the “Morris Declaration”) together with the exhibits annexed thereto.




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         7.       Based on the exhibits annexed to the Morris Declaration, and the arguments

 contained in the Memorandum of Law, the Debtor is entitled to the relief requested herein as set

 forth in the Proposed Order.

         8.       Notice of this Motion has been provided to all parties. The Debtor submits that no

 other or further notice need be provided.

         WHEREFORE, the Debtor respectfully requests that the Court (i) enter the Proposed Order

 substantially in the formed annexed hereto as Exhibit A granting the relief requested herein, and

 (ii) grant the Debtor such other and further relief as the Court may deem proper.




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  Dated: April 23, 2021.               PACHULSKI STANG ZIEHL & JONES LLP
                                       Jeffrey N. Pomerantz (CA Bar No. 143717)
                                       Ira D. Kharasch (CA Bar No. 109084)
                                       John A. Morris (NY Bar No. 266326)
                                       Gregory V. Demo (NY Bar No. 5371992)
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                                       Counsel for Highland Capital Management, L.P.




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                                      EXHIBIT A




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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION
                                                                   §
     In re:
                                                                   § Chapter 11
                                                                   §
     HIGHLAND CAPITAL MANAGEMENT, L.P., 2
                                                                   § Case No. 19-34054-sgj11
                                                                   §
                                      Debtor.
                                                                   §

        ORDER GRANTING DEBTOR’S MOTION FOR AN ORDER REQUIRING THE
       VIOLATORS TO SHOW CAUSE WHY THEY SHOULD NOT BE HELD IN CIVIL
                CONTEMPT FOR VIOLATING TWO COURT ORDERS

              Having considered (a) the Debtor’s Motion for an Order Requiring the Violators to Show

 Cause Why They Should Not Be Held in Civil Contempt for Violating Two Court Orders [Docket

 No. __] (the “Motion”), 3 (b) the Debtor’s Memorandum of Law in Support of Motion for an Order

 Requiring the Violators to Show Cause Why They Should Not Be Held in Civil Contempt for



 2
  The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
 for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
 3
  Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Memorandum
 of Law.


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 Violating Two Court [Docket No. __] (the “Memorandum of Law”), (c) the exhibits annexed to

 the Declaration of John A. Morris in Support of the Debtor’s Motion for an Order Requiring the

 Violators to Show Cause Why They Should Not Be Held in Civil Contempt for Violating Two Court

 Orders [Docket No. __] (the “Morris Declaration”), and (d) all prior proceedings relating to this

 matter, including the proceedings that led to the entry of each of the Orders and the Approval

 Order; and this Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334;

 and this Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and

 this Court having found that venue of this proceeding and the Motion in this District is proper

 pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that sanctions is warranted

 under sections 105(a) and 362(a) of the Bankruptcy Code and that the relief requested in the

 Motion is in the best interests of the Debtor’s estate, its creditors, and other parties-in-interest; and

 this Court having found that the Debtor’s notice of the Motion and opportunity for a hearing on

 the Motion were appropriate under the circumstances and that no other notice need be provided;

 and this Court having determined that the legal and factual bases set forth in the Motion establish

 good cause for the relief granted herein; and upon all of the proceedings had before this Court; and

 after due deliberation and sufficient cause appearing therefor and for the reasons set forth in the

 record on this Motion, it is HEREBY ORDERED THAT:

         1.      The Motion is GRANTED as set forth herein.

         2.      The DAF, CLO Holdco, and Sbaiti & Co. shall show cause before this Court on [

 ], May [ ], 2021 at 9:30 a.m. (Central Time) why an order should not be granted: (a) finding and

 holding each of the Violators in contempt of court; (b) directing the Violators, jointly and severally,

 to pay the Debtor’s estate an amount of money equal to two (2) times the Debtor’s actual expenses

 incurred in bringing this Motion, payable within three (3) calendar days of presentment of an



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 itemized list of expenses; (c) imposing a penalty of three (3) times the Debtor’s actual expenses

 incurred in connection with any future violation of any order of this Court (including filing any

 motion in the District Court to name Mr. Seery as a defendant without seeking and obtaining this

 Court’s prior approval, as required under the Orders), and (d) granting the Debtor such other and

 further relief as the Court deems just and proper under the circumstances.

        3.      The Court shall retain exclusive jurisdiction with respect to all matters arising from

 or relating to the implementation, interpretation, and enforcement of this Order.


                                    ### END OF ORDER ###




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                             APPENDIX 2




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 Counsel for The Charitable DAF Fund, L.P.
 and CLO Holdco, Ltd.

                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION


                                                                  §
  In re:                                                          § Chapter 11
                                                                  §
  HIGHLAND CAPITAL MANAGEMENT, L.P.,                              § Case No. 19-34054-sgj11
                                                                  §
                                    Debtor.                       §


                NOTICE OF MOTION FOR MODIFICATION OF ORDER
              AUTHORIZING RETENTION OF JAMES P. SEERY, JR. DUE TO
                   LACK OF SUBJECT MATTER JURISDICTION



           The Charitable DAF Fund, L.P. and CLO Holdco, Ltd. respectfully bring this contested

 motion seeking modification of a prior order of this Court and respectfully submit that the order,

 as applied to them in current circumstances, exceeds this Court’s subject matter jurisdiction for

 the reasons that follow.




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                                                     I.
                                     NECESSITY OF MOTION 1
         As applied to their action currently before the Northern District of Texas, Movants would
 show that this Court’s Order of July 16, 2020 (“Order”)2 appears to overstate this Court’s

 jurisdiction. Despite the request from the Debtor, this Court should not attempt to assert exclusive

 jurisdiction over any and all claims that might be asserted against James P. Seery, Jr. (“Seery”),

 relating in any way to his role as an officer of the Debtor, as the Order asserts that it can.

         In 28 U.S.C. § 1334, Congress has vested the federal district courts with original

 jurisdiction over claims arising under, arising in, or related to title 11. Article III of the Constitution

 also grants such “judicial power” to the district courts. This Court’s subject matter jurisdiction is

 derivative of the district courts’ jurisdiction, and it lacks the power to strip that jurisdiction from

 the district courts. To the extent that the Debtor’s counsel asserts that this Court does have that

 power, they should identify the specific source of that authority. But Movants respectfully submit

 that there appears to be no authority providing that this Court can undo what Article III and § 1334

 have done.

         This Court should modify the Order to clarify or correct the apparent jurisdictional

 overreach. Plainly, Movants’ claims against Seery are within the jurisdiction of the district court—

 jurisdiction which cannot be divested.



   1 Notably, as undersigned counsel was finalizing this Motion, Highland Capital and James P.

 Seery, Jr.’s counsel filed a Motion to Show Cause, arguing that the act of merely asking the District
 Court to entertain the addition of James Seery somehow amounts to a Rule 11 violation or
 contempt of this Court’s orders. The Movants intend to respond to that motion in a robust and
 timely fashion. Movants respectfully suggest that that Motion and this one be considered at the
 same time.
   2 Order Approving Debtor’s Motion Under Bankruptcy Code Sections 105(a) and 363(b)
 Authorizing Retention of James P. Seery, Jr., as Chief Executive Officer, Chief Restructuring
 Officer, and Foreign Representative Nunc Pro Tunc to March 15, 2020 [Doc 854].
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 James P. Seery, Jr. Due to Lack of Subject Matter Jurisdiction                                     Page 2
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                                                    II.
                                           BACKGROUND
         On June 23, 2020, counsel for the Debtor filed a motion asking this Court to defer to the

 “business judgment” of the Strand board’s compensation committee and approve the terms of its

 appointment of Seery as chief executive officer and chief restructuring officer at the Debtor,

 retroactive to March.3 Counsel also asked the Bankruptcy Court to declare that it had exclusive

 jurisdiction over any claims asserted against Seery in this role.

         On July 16, 2020, this Court granted that motion and entered the Order, stating as follows:

             No entity may commence or pursue a claim or cause of action of any kind
             against Mr. Seery relating in any way to his role as the chief executive officer
             and chief restructuring officer of the Debtor without the Bankruptcy Court (i)
             first determining after notice that such claim or cause of action represents a
             colorable claim of willful misconduct or gross negligence against Mr. Seery,
             and (ii) specifically authorizing such entity to bring such claim. The
             Bankruptcy Court shall have sole jurisdiction to adjudicate any such claim
             for which approval of the Court to commence or pursue has been granted.4

 On March 22, 2021, this Court entered an order confirming the Debtor’s reorganization plan.5 The

 confirmation order purports to extend the prohibitions on suits against Seery, and it also prohibits

 certain actions against the Debtor and its affiliates. By its own terms, however, the confirmation

 order is not yet effective due to a pending appeal. And this Court explicitly limited the scope of




     3 Debtor’s Motion Under Bankruptcy Code Sections 105(a) and 363(b) for Authorization to

 Retain James P. Seery, Jr., as Chief Executive Officer, Chief Restructuring Officer and Foreign
 Representative Nunc Pro Tunc to March 15, 2020 [Doc. 774] (“Debtors Motion”).
     4 A related order dated January 9, 2020, contains a similar provision with regard to Seery’s
 role as an “Independent Director.” Order Approving Settlement with Official Committee of
 Unsecured Creditors Regarding Governance of the Debtor and Procedures for Operations in the
 Ordinary Course, ¶ 5 [Doc. 339].
     5
     Order (I) Confirming the Fifth Amended Plan of Reorganization of Highland Capital
 Management, L.P. (As Modified) And (II) Granting Related Relief [Doc. 1943].
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 James P. Seery, Jr. Due to Lack of Subject Matter Jurisdiction                                 Page 3
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 the “sole and exclusive jurisdiction” it asserted therein, noting that such jurisdiction would extend

 “only to the extent legally permissible.”6

         On April 12, 2021, Movants here filed their Original Complaint in federal district court in

 the Northern District of Texas, alleging that the Debtor and related entities are liable as a result of

 insider trading and other violations of the antifraud provisions of the Investment Company Act of

 1940, among other causes of action.7

         The Original Complaint does not name Seery as a defendant. But the action is based on

 Seery’s misrepresentations, omissions, and other breaches of duty committed in his role as the

 Debtor’s CEO, acts which are sufficient to demonstrate his willful misconduct or gross negligence,

 though Movants would submit that mere negligence and breach of fiduciary duty also form

 sufficient bases for his personal liability.

         Although Seery is not named as a defendant in that action, this is only out of an abundance

 of caution due to the prohibitions in the Order. Movants filed a motion for leave to amend in the

 district court, citing to and briefing the Order as well as this Court’s jurisdictional limitations. 8

 Movants expected that motion would likely be referred to this Court. But that motion was promptly

 denied without prejudice due to the foreign defendants not yet having been served.9

         In the meantime, and in the interests of a speedier resolution, Movants here ask this Court

 to modify the Order to the extent it states that amending to add Seery to Movants’ action in district


     6 Id. at 77, ¶ AA (“The Bankruptcy Court will have sole and exclusive jurisdiction to determine

 whether a claim or cause of action is colorable and, only to the extent legally permissible and as
 provided for in Article XI of the Plan, shall have jurisdiction to adjudicate the underlying colorable
 claim or cause of action.”) (emphasis added).
     7 See generally,    Original Complaint, Cause No. 3:21-cv-00842-B, Docket No. 1 (attached
 hereto as Exhibit 1).
   8 See Cause No. 3:21-cv-00842-B, Doc. 6 (attached hereto as Exhibit 2).

   9 See Cause No. 3:21-cv-00842-B, Doc. 8.

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 court is prohibited. Prohibiting that amendment in current circumstances, Movants submit, would

 be beyond this Court’s jurisdiction.

                                                    III.

                                             ARGUMENT

         Movants submit that the Order should not prohibit amending their action in the district

 court to assert claims against Seery. To the extent the Order does so, Movants respectfully submit

 that the prohibition should be modified to avoid exceeding this Court’s powers.

 A. THIS COURT LACKS THE AUTHORITY TO STRIP THE DISTRICT COURT OF JURISDICTION

         Movants respectfully submit that, because this Court’s jurisdiction derives from and is

 dependent upon the jurisdiction of the district court, the Order’s declaration that this Court has

 “sole jurisdiction” to the exclusion of the district court is an overreach.

         Congress provided for and limited the jurisdiction of bankruptcy courts in 28 U.S.C. § 1334

 and 28 U.S.C. § 157. As a result, bankruptcy court jurisdiction derives from and is limited by

 statute. Celotex Corp. v. Edwards, 514 U.S. 300, 307 (1995) (“The jurisdiction of the bankruptcy

 courts, like that of other federal courts, is grounded in, and limited by, statute.”); Williams v.

 SeaBreeze Fin., LLC (In re 7303 Holdings, Inc.), Nos. 08-36698, 10-03079, 2010 Bankr. LEXIS

 2938 at *7 (Bankr. S.D. Tex. Aug. 26, 2010) (“A bankruptcy court’s jurisdiction is derivative of

 the district court’s jurisdiction. The bankruptcy court does not have jurisdiction unless the district

 court could exercise authority over the matter . . . .”). The plain provisions of § 1334 grant to the

 district courts “original jurisdiction” over all bankruptcy cases and related civil proceedings. 28

 U.S.C. § 1334(a)-(b). Thus, when it comes to subject matter jurisdiction, what Congress giveth,

 this Court cannot take away and reserve for itself.




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                 a. The Barton Doctrine Does Not Apply

         Movants suspect this Court’s jurisdictional overreach is the result Debtor’s counsel’s

 overly aggressive interpretation of the Barton doctrine. That doctrine protects receivers and

 trustees who are appointed by the bankruptcy court. Randazzo v. Babin, No. 15-4943, 2016 U.S.

 Dist. LEXIS 110465, at *3 (E.D. La. Aug. 18, 2016) (“While the Barton case involved a receiver

 in state court, the United States Court of Appeals for the Fifth Circuit has extended this principle,

 now known as the Barton doctrine, to lawsuits against bankruptcy trustees for acts committed in

 their official capacities.”). The doctrine does not apply to executives of a debtor, like Seery, who

 are not receivers or trustees, and who must stretch the truth to claim that they were “appointed” by

 this Court, having asked it merely to approve their appointment in deference to their discretion

 under the business judgment rule.10

 B. THE ORDER EXCEEDS THE CONSTITUTIONAL LIMITS OF THE BANKRUPTCY C OURT’S
    JURISDICTION                                              ____________

         Not only does this Court lack “sole jurisdiction” over all causes of action that might be

 brought against Seery related to his role as HCM’s CEO, according to the plain language of 28

 U.S.C. § 1334, this Court does not even have concurrent jurisdiction over all such claims.

         The separation of powers doctrine simply does not allow that. See Stern v. Marshall, 564

 U.S. 462, 499 (2011) (holding that Congress cannot bypass Article III and create jurisdiction in

 bankruptcy courts “simply because a proceeding may have some bearing on a bankruptcy case”);


     10 See Debtors Motion at 14-15 (arguing that the bankruptcy court should not “interfere” with

 their “corporate decisions . . . as long as they are attributable to any rational business purpose”)
 (internal quotes omitted); id. at 5-7 (detailing the compensation committee’s “appointment” of
 Seery as CEO as well as chief restructuring officer). Moreover, Fifth Circuit law prohibits non-
 debtor exculpation with regard to third-party claims, with exceptions that are inapplicable here.
 See, e.g., Bank of N.Y. Tr. Co., NA v. Official Unsecured Creditor’ Comm. (In re Pac. Lumber
 Co.), 584 F.3d 229, 251-52 (5th Cir. 2009) (prohibiting “non-consensual non-debtor releases and
 permanent injunctions”)
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 id. at 499 (emphasis in original) (quoting at *488 Murray’s Lessee v. Hoboken Land &

 Improvement Co., 59 U.S. 272, 284 (1856), for the proposition that “Congress cannot ‘withdraw

 from judicial [read Article III] cognizance any matter which, from its nature, is the subject of a

 suit at the common law, or in equity, or admiralty’” with the limited exception of matters involving

 certain public rights); id. at 494 (quoting the dissent’s quote of Thomas v. Union Carbide Agric.

 Prods. Co., 473 U.S. 568, 584 (1985), for the proposition that “Congress may not vest in a non-

 Article III court the power to adjudicate, render final judgment, and issue binding orders in a

 traditional contract action arising under state law,” and then adding “tort” to the rule for purposes

 of the matter before it); N. Pipeline Constr. Co. v. Marathon Pipe Line Co., 458 U.S. 50, 71 (1982)

 (plurality opinion) (holding that bankruptcy court could not hear debtor’s suit against third party

 for breach of contract, misrepresentation, coercion, and duress because “the restructuring of

 debtor-creditor relations, which is at the core of the federal bankruptcy power, must be

 distinguished from the adjudication of state-created private rights, such as the right to recover

 contract damages that is at issue in this case.”); cf. In re Prescription Home Health Care, 316

 F.3d 542, 548 (5th Cir. 2002) (holding that trustee’s tax liability was not within the bankruptcy

 court’s related-to jurisdiction and rejecting “the theory that a bankruptcy court has jurisdiction to

 enjoin any activity that threatens the debtor’s reorganization prospects [because that] would permit

 the bankruptcy court to intervene in a wide variety of third-party disputes [such as] any action

 (however personal) against key corporate employees, if they were willing to state that their morale,

 concentration, or personal credit would be adversely affected by that action”).

         Simply put, this Court lacks the power to expand its jurisdiction or manufacture it where

 none exists. And doing so here, when Movants seek to bring in the district court “a suit at common

 law,” Stern, 564 U.S. at 488, “a traditional contract action [and tort action] arising under state law,”

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 id. at 494, and an “action . . . against key corporate employees,” Prescription Home Health Care,

 316 F.3d at 548, exceeds even Congress’s power. The causes of action in Movants’ district court

 case are beyond this Court’s constitutional reach.

 C. THE ORDER EXCEEDS THE BANKRUPTCY COURT’S STATUTORY AUTHORIZATION

         Not only are there constitutional issues with the scope of the Order, there is also the plainly

 worded “full stop” of 28 U.S.C. § 157(d). See TMT Procurement Corp. v. Vantage Drilling Co.

 (In re TMT Procurement Corp.), 764 F.3d 512, 523 & n.40 (5th Cir. 2014) (noting bankruptcy

 court’s “more limited” jurisdiction as a result of its “limited power” under 28 U.S.C. § 157). In

 Section 157(d), Congress prohibited the bankruptcy court, absent the parties’ consent, from

 presiding over cases or proceedings that require consideration of both Title 11 and other federal

 law regulating organizations or activities affecting interstate commerce.

         The allegations concerning Seery in Movants’ district court case—accusing him of insider

 trading, violations of the RICO statute (18 U.S.C. § 1961 et seq.), and violations of the antifraud

 provisions of the Investment Advisers Act of 1940—require precisely that. Even determining the

 “colorability” of those claims will require a close examination of both the proceedings that took

 place in this Court under Title 11 and the Investment Advisers Act, as well as the RICO statute.

 Under § 157(d), this Court lacks the authority to make such determinations. Only the district court

 has that power.

         Thus, at least as it applies to Movants’ district court action, the Order (at least as far as

 Debtor and Seery seem to interpret it), exceeds this Court’s power under 28 U.S.C. § 157(d). Any

 determination of “colorability” regarding Movants’ causes of action should take place in the

 district court, not here.




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         Furthermore, a contrary conclusion would create unnecessary tension with the

 congressional aims of 28 U.S.C. § 959 (“Trustees, receivers or managers of any property, including

 debtors in possession, may be sued, without leave of the court appointing them, with respect to

 any of their acts or transactions in carrying on business connected with such property.”).

         The district court, of course, may refer Movants’ action to this Court under Miscellaneous

 Order No. 33, as authorized by § 104 of the Bankruptcy Amendments and Federal Judgeship Act

 of 1984, codified at 28 U.S.C. § 157(a). But withdrawal of that reference would still be mandatory

 for any determination of “colorability” as previously noted or for any other matter likewise within

 the scope of § 157(d).

         To the extent the Order requires otherwise11 —and on its face it would seem to—Movants

 respectfully submit that it is in error.

                                                    IV.

                                            CONCLUSION

         Movants ask this Court to modify the provisions of the Order that assert exclusive

 jurisdiction over any and all causes of action against Seery related to his role as an officer of the

 Debtor. This Court’s jurisdiction does not reach all such cases. More specifically, it does not reach

 Movants’ district court action or cancel out that court’s jurisdiction under 28 U.S.C. § 1334.

         As a result, the Order is overreaching and should be modified. And Movants respectfully

 submit that this Motion should be granted.




   11 To the extent that Seery would seek to assert some kind of immunity, that is an affirmative

 defense that he may assert in the district court as well.
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  Dated: April 23, 2021                                    Respectfully submitted,

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            EXHIBIT 



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                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS

      CHARITABLE DAF FUND, L.P.          §
      and CLO HOLDCO, LTD.,              §
      directly and derivatively,         §
                                         §
                    Plaintiffs,          §
                                         §
                        v.               §                   Cause No. __________________________
                                         §
      HIGHLAND CAPITAL MANAGEMENT, §
      L.P. , HIGHLAND HCF ADVISOR, LTD., §
      and HIGHLAND CLO FUNDING, LTD., §
      nominally,                         §
                                         §
                   Defendants.           §



                                           ORIGINAL COMPLAINT


                                                        I.
                                                INTRODUCTION
             This action arises out of the acts and omissions of Defendant Highland Capital

  Management, L.P. (“HCM”), which is the general manager of Highland HCF Advisor, Ltd.

  (“HCFA”), both of which are registered investment advisers under the Investment Advisers Act of

  1940 (the “Advisers Act”),1 and nominal Defendant Highland CLO Funding, Ltd. (“HCLOF”)

  (HCM and HCFA each a “Defendant,” or together, “Defendants”). The acts and omissions which

  have recently come to light reveal breaches of fiduciary duty, a pattern of violations of the

  Advisers Act’s anti-fraud provisions, and concealed breaches of the HCLOF Company Agreement,

  among others, which have caused and/or likely will cause Plaintiffs damages.




  1
      https://adviserinfo.sec.gov/firm/summary/110126




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          At all relevant times, HCM was headed by CEO and potential party James P. Seery

  (“Seery”). Seery negotiated a settlement with the several Habourvest2 entities who owned 49.98%

  of HCLOF. The deal had HCM (or its designee) purchasing the Harbourvest membership interests

  in HCLOF for $22.5 million. Recent revelations, however, show that the sale was predicated upon

  a sales price that was vastly below the Net Asset Value (“NAV”) of those interests. Upon

  information and belief, the NAV of HCLOF’s assets had risen precipitously, but was not disclosed

  to Harbourvest nor to Plaintiffs.

          Under the Advisers Act, Defendants have a non-waivable duty of loyalty and candor, which

  includes its duty not to inside trade with its own investors, i.e., not to trade with an investor to

  which HCM and Seery had access to superior non-public information. Upon information and

  belief, HCM’s internal compliance policies required by the Advisers Act would not generally have

  allowed a trade of this nature to go forward—meaning, the trade either was approved in spite of

  compliance rules preventing it, or the compliance protocols themselves were disabled or amended

  to a level that leaves Defendants HCM and HCLOF exposed to liability. Thus, Defendants have

  created an unacceptable perpetuation of exposure to liability.

          Additionally, Defendants are liable for a pattern of conduct that gives rise to liability for

  their conduct of the enterprise consisting of HCM in relation to HCFA and HCLOF, through a

  pattern of concealment, misrepresentation, and violations of the securities rules. In the alternative,

  HCFA and HCM, are guilty of self-dealing, violations of the Advisers Act, and tortious

  interference by (a) not disclosing that Harbourvest had agreed to sell at a price well below the

  current NAV, and (b) diverting the Harbourvest opportunity to themselves.



    2
     “Habourvest” refers to the collective of Harbourvest Dover Street IX Investment, L.P., Harbourvest
  2017 Global AIF, L.P., Harbourvest 2017 lobal Fund, L.P., HV International VIII Secondary, L.P., and
  Harbourvest Skew Base AIF, L.P. Each was a member of Defendant Highland CLO Funding, Ltd.

  Original Complaint                                                                                Page 2

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